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                                                        Objection Deadline: July 17, 2023

PACHULSKI STANG ZIEHL & JONES LLP
James I. Stang, Esq. (admitted pro hac vice)
Karen B. Dine, Esq.
Gillian N. Brown, Esq.
Brittany M. Michael, Esq.
780 Third Avenue, 36th Floor
New York, New York 10017
Tel: 212-561-7700; Fax: 212- 561-7777
Email:         jstang@pszjlaw.com.
               kdine@pszjlaw.com
               gbrown@pszjlaw.com
               bmichael@pszjlaw.com

Counsel to the Official Committee
of Unsecured Creditors


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                                 Chapter 11
 THE ROMAN CATHOLIC DIOCESE OF                          Case No. 20-12345 (SCC)
 ROCKVILLE CENTRE, NEW YORK,
                     Debtor.




           TWENTY-NINTH MONTHLY FEE STATEMENT OF PACHULSKI
            STANG ZIEHL & JONES LLP FOR PROFESSIONAL SERVICES
            RENDERED AND DISBURSEMENTS INCURRED AS COUNSEL
         TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
              THE PERIOD FROM MAY 1, 2023 THROUGH MAY 31, 2023




                                               1
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 Name of Applicant:                                                    Pachulski Stang Ziehl & Jones LLP
 Authorized to Provide Professional Services                           Official Committee of Unsecured Creditors
 to:
                                                                       Effective October 16, 2020 pursuant to Order
 Date of Retention:
                                                                       dated November 17, 2020 [Docket No.163]
 Period for which Compensation and
                                                                       May 1, 2023 – May 31, 20231
 Reimbursement is Sought:
 Amount of Compensation Sought as Actual,
                                                                       $665,719.60 (80% of $832,149.50)
 Reasonable and Necessary:
 Amount of Expense Reimbursement Sought
                                                                       $ 96,814.64
 as Actual, Reasonable and Necessary:

This is a:            x Monthly                Interim              Final Application.

                                                   Preliminary Statement

          Pachulski Stang Ziehl & Jones LLP (“PSZ&J”), counsel to the Official Committee of

Unsecured Creditors (the “Committee”) of The Roman Catholic Diocese of Rockville Centre,

New York (the “Debtor”), hereby submits this statement of fees and disbursements (the

“Monthly Statement”) for the period from May 1, 2023 through May 31, 2023 (the

“Compensation Period”) in accordance with the Order Authorizing Procedures for Interim

Compensation and Reimbursement of Expenses of Professionals, dated November 4, 2020

[Docket No. 129] (the “Interim Compensation Order”). PSZ&J requests (a) interim allowance

and payment of compensation in the amount of $665,719.60 (80% of $832,149.50) for fees on

account of reasonable and necessary professional services rendered to the Committee by

PSZ&J;2 and (b) reimbursement of actual and necessary costs and expenses in the amount of

$96,814.64. PSZ&J reserves the right to apply in the future for reimbursement of actual and




1 The applicant reserves the right to include any time expended in the time period indicated above in future application(s) if it is

not included herein.
2 PSZJ will hold ten percent of all fees received in this case in a trust account to benefit this case’s abuse claimants. The funds

will be held until a trust is established through a plan of reorganization. If no such trust is created, the funds will be donated to a
child advocacy organization to be selected by the Committee at the conclusion of the case.


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necessary costs and expenses, if any, incurred by members of the Committee in connection with

their service as members of the Committee during the Compensation Period.

                        Services Rendered During the Compensation Period

                 Exhibit A sets forth a timekeeper summary that includes the respective names,

positions, department, bar admissions, hourly billing rates and aggregate hours spent by each

PSZ&J professional and paraprofessional that provided services to the Committee during the

Compensation Period. The rates charged by PSZ&J for services rendered to the Committee are

the same rates that PSZ&J charges generally for professional services rendered to its non-

bankruptcy clients.

                 Exhibit B sets forth a task code summary that includes the aggregate hours per

task code spent by PSZ&J professionals and paraprofessionals in rendering services to the

Committee during the Compensation Period.

                 Exhibit C sets forth a disbursement summary that includes the aggregate

expenses, organized by general disbursement categories, incurred by PSZ&J in connection with

services rendered to the Committee during the Compensation Period.

                 Exhibit D sets forth a complete itemization of all time records for PSZ&J

professionals and paraprofessionals for the Compensation Period.

                                    Notice and Objection Procedures

                 No trustee or examiner has been appointed in this chapter 11 case. Notice of the

Monthly Statement has been served by electronic mail and/or U.S. First Class Mail upon: (a) the

Debtor c/o The Roman Catholic Diocese of Rockville Centre, 50 N Park Ave P.O. Box 9023,

Rockville Centre, NY 11571-9023 (Attn: Thomas Renker, Esq.); (b) the attorneys for the Debtor

at Jones Day, 250 Vesey Street, New York, NY 10281 (Attn: Corinne Ball, Esq., Benjamin




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Rosenblum, Esq. and Andrew M. Butler, Esq.); and (c) the Office of the United States Trustee

Region 2, 201 Varick Street, Suite 1006, New York, NY 10014 (Attn: Greg Zipes, Esq. and

Shara Cornell, Esq.). PSZ&J submits that no other or further notice need be provided.

                 Pursuant to the Interim Compensation Order, objections to this Application, if

any, must be served upon the undersigned counsel for the Committee and all persons identified at

paragraph 5, above, by July 17, 2023 (the “Objection Deadline”), setting forth the nature of the

objection and the amount of fees or expenses at issue.

                 If no objections to this Monthly Statement are made on or before the Objection

Deadline, the Debtor shall pay PSZ&J 80% of the fees and 100% of the expenses set forth above.

                 To the extent an objection to this Monthly Statement is timely made, the Debtor

shall withhold payment of that portion of the Monthly Statement to which the objection is

directed and promptly pay the remainder of the fees and disbursements in the percentages set




                             [remainder of page left intentionally blank]




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forth above. To the extent such objection is not resolved, it shall be preserved and presented to

the Court at the next interim or final fee application hearing.

                                               PACHULSKI STANG ZIEHL & JONES LLP
 Dated: June 30, 2023
                                                /s/ Gillian N. Brown
                                               James I. Stang, Esq. (admitted pro hac vice)
                                               Karen B. Dine, Esq.
                                               Gillian N. Brown, Esq.
                                               Brittany M. Michael, Esq.
                                               780 Third Avenue, 36th Floor
                                               New York, New York 10017
                                               Tel: (212) 561-7700; Fax: (212) 561-7777
                                               Email:
                                               jstang@pszjlaw.com
                                               kdine@pszjlaw.com
                                               gbrown@pszjlaw.com
                                               bmichael@pszjlaw.com

                                                Counsel to the Official Committee of Unsecured
                                                Creditors




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                                             EXHIBIT A

                                         Timekeeper Summary

NAME OF PROFESSIONAL            TITLE      YEAR OF      YEAR OF     HOURLY      TOTAL        TOTAL
                                          ADMISSION   PARTNERSHIP    RATE       HOURS     COMPENSATION
                                                                                BILLED




James I. Stang               Partner        1980         1983       $1,695.00    63.90     $108,310.50
James I. Stang               Partner        1980         1983        $847.50     29.00      $24,577.50
Kenneth H. Brown             Partner        1981         2001       $1,525.00    18.90      $28,822.50
Iain A.W. Nasatir            Partner        1983         1998       $1,395.00    76.10     $106,159.50
Iain A.W. Nasatir            Partner        1983         1998        $697.50     41.00      $28,597.50
Alan J. Kornfeld             Partner        1987         1996       $1,675.00    42.20      $70,685.00
John W. Lucas                Partner        2005         2014       $1,150.00      3.80      $4,370.00
Judith Elkin                 Counsel        1981         N/A        $1,450.00      2.10      $3,045.00
Tavi C. Flanagan             Counsel        1993         N/A        $1,075.00    50.90      $54,717.50
Gail S. Greenwood            Counsel        1994         N/A        $1,095.00    14.40      $15,768.00
Karen B. Dine                Counsel        1994         N/A        $1,395.00   143.30     $199,903.50
Gillian N. Brown             Counsel        1999         N/A         $975.00     21.30      $20,767.50
Elissa A. Wagner             Counsel        2001         N/A        $1,095.00      4.90      $5,365.50
Cia H. Mackle                Counsel        2006         N/A         $925.00       1.20      $1,110.00
Brittany M. Michael          Counsel        2015         N/A         $875.00    149.60     $130,812.50
Brittany M. Michael          Counsel        2015         N/A         $437.50     24.20      $10,587.50
Beth D. Dassa                Paralegal      N/A          N/A         $545.00        .80        $436.00
Yves Pierre Derac            Paralegal      N/A          N/A         $545.00     14.40       $7,848,00
Diane H. Hinojosa            Paralegal      N/A          N/A         $395.00       3.50      $1,382.50
La Asia S. Canty             Paralegal      N/A          N/A         $545.00       1.60        $872.00
Kerri L. LaBrada             Paralegal      N/A          N/A         $545.00     14.70       $8,011.50
Totals                                                                          721.80     $832,149.50




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                                          EXHIBIT B

                                      Task Code Summary

        Code                          Description               Hours       Amount
         CA        Case Administration                            2.80       $2,079.00
        CEM        Cemetery Transfers                            18.40      $23,185.00
         CO        Claims Admin/Objections                       37.60      $45,557.00
        CPO        Comp. of Prof./Others                          1.40       $1,093.00
        CRF        Committee Discovery Requests –
                                                                  8.00      $10,904.00
                   Finance/Governance
        CRP        CmteDisc Reqs - Parishes                        .50         $437.50
       DCVA        Cmte Disc Reqs - CVA                           1.30       $1,137.50
         GC        General Creditors Comm.                         .40         $218.00
        IAC        IAC/Affiliate Transactions                     6.40       $7,359.00
        IFA        Interim Fee Applications                       8.40       $7,235.00
         IL        Insurance Litigation                           9.60      $13,298.00
       MCC         Mtgs/Conf w/Client                            70.00      $71,516.00
        MD         Motion to Dismiss                             82.30     $101,863.50
         ME        Mediation                                    272.10     $351,363.50
         MF        Mtgs/Conf w/ Case Prof.                        1.90       $2,078.50
       MFA         Monthly Fee Statements                        13.60      $10,454.00
       MTG         Interview/Meetings                              .40         $218.00
        OPH        Open Court Hearing                             3.90       $5,176.50
         PD        Plan & Disclosure Stmt.                       86.90     $110,982.50
       PDJD        Preliminary Injunction                          .50         $382.50
        SEM        Seminary Transfers                             1.20       $1,849.00
         TR        Travel                                        94.20      $63,762.50
                   TOTAL                                        721.80     $832,149.50




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                                              EXHIBIT C
                                         Disbursement Summary


                             Expenses (by Category)                  Amounts
            Air Fare                                                    $4,317.60
            Airport Parking                                               $156.00
            Auto Travel Expense                                         $1,480.03
            Bloomberg                                                      $12.50
            Working Meals                                               $2,095.36
            Conference Call                                                $25.44
            Delivery/Courier service                                       $80.00
            Federal Express                                                $88.26
            Filing Fee                                                    $350.00
            Hotel Expense                                               $9,554.15
            Lexis/Nexis – Legal Research                                  $297.25
            Outside Services                                           $77,418.50
            Pacer – Court Research                                        $143.60
            Postage                                                        $34.15
            Reproduction/Scan Copy                                        $533.80
            Travel Expense                                                $108.00
            Transcript                                                    $120.00
            TOTAL                                                      $96,814.64




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                                        EXHIBIT D




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                               Pachulski Stang Ziehl & Jones LLP
                                        10100 Santa Monica Blvd.
                                               13th Floor
                                         Los Angeles, CA 90067
                                                                    May 31, 2023
JIS                                                                 Invoice 132645
                                                                    Client   18491
                                                                    Matter   00002
                                                                             GNB

RE: Committee Representation

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 05/31/2023
               FEES                                                 $832,149.50
               EXPENSES                                              $96,814.64
               TOTAL CURRENT CHARGES                                $928,964.14

               BALANCE FORWARD                                     $4,030,326.76
               LAST PAYMENT                                        $1,737,772.34
               TOTAL BALANCE DUE                                   $3,221,518.56
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  Summary of Services by Professional
  ID        Name                                Title                Rate           Hours               Amount

 AJK        Kornfeld, Alan J.                   Partner            1675.00          42.20            $70,685.00

 BDD        Dassa, Beth D.                      Paralegal           545.00           0.80              $436.00

 BMM        Michael, Brittany M.                Counsel             437.50          24.20            $10,587.50

 BMM        Michael, Brittany M.                Counsel             875.00         149.60           $130,812.50

 CHM        Mackle, Cia H.                      Counsel             925.00           1.20             $1,110.00

 DHH        Hinojosa, Diane H.                  Paralegal           395.00           3.50             $1,382.50

 EAW        Wagner, Elissa A.                   Counsel            1095.00           4.90             $5,365.50

 GNB        Brown, Gillian N.                   Counsel             975.00          21.30            $20,767.50

 GSG        Greenwood, Gail S.                  Counsel            1095.00          14.40            $15,768.00

 IAWN       Nasatir, Iain A. W.                 Partner             697.50          41.00            $28,597.50

 IAWN       Nasatir, Iain A. W.                 Partner            1395.00          76.10           $106,159.50

 JE         Elkin, Judith                       Counsel            1450.00           2.10             $3,045.00

 JIS        Stang, James I.                     Partner             847.50          29.00            $24,577.50

 JIS        Stang, James I.                     Partner            1695.00          63.90           $108,310.50

 JWL        Lucas, John W.                      Partner            1150.00           3.80             $4,370.00

 KBD        Dine, Karen B.                      Counsel            1395.00         143.30           $199,903.50

 KHB        Brown, Kenneth H.                   Partner            1525.00          18.90            $28,822.50

 KLL        LaBrada, Kerri L.                   Paralegal           545.00          14.70             $8,011.50

 LSC        Canty, La Asia S.                   Paralegal           545.00           1.60              $872.00

 TCF        Flanagan, Tavi C.                   Counsel            1075.00          50.90            $54,717.50

 YPD        Derac, Yves Pierre                  Paralegal           545.00          14.40             $7,848.00

                                                                                  721.80            $832,149.50
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  Summary of Services by Task Code
  Task Code         Description                                               Hours                        Amount

 CA                 Case Administration [B110]                                  2.80                      $2,079.00

 CEM                Cemetery Transfers                                         18.40                     $23,185.00

 CO                 Claims Admin/Objections[B310]                              37.60                     $45,557.00

 CPO                Comp. of Prof./Others                                       1.40                      $1,093.00

 CRF                CmteDisc Reqs- Finance/Govern                               8.00                     $10,904.00

 CRP                CmteDisc Reqs - Parishes                                    0.50                       $437.50

 DCVA               Cmte Disc Reqs - CVA                                        1.30                      $1,137.50

 GC                 General Creditors Comm. [B150]                              0.40                       $218.00

 IAC                IAC/Affiliate Transactions                                  6.40                      $7,359.00

 IFA                Interim Fee Applications                                    8.40                      $7,235.00

 IL                 Insurance Litigation                                        9.60                     $13,298.00

 MCC                Mtgs/Conf w/Client                                         70.00                     $71,516.00

 MD                 Motion to Dismiss                                          82.30                    $101,863.50

 ME                 Mediation                                                 272.10                    $351,363.50

 MF                 Mtgs/Conf w/ Case Prof.                                     1.90                      $2,078.50

 MFA                Monthly Fee Statements                                     13.60                     $10,454.00

 MTG                Interview/Meetings                                          0.40                       $218.00

 OPH                Open Court Hearing                                          3.90                      $5,176.50

 PD                 Plan & Disclosure Stmt. [B320]                             86.90                    $110,982.50

 PINJ               Preliminary Injunction                                      0.50                       $382.50

 SEM                Seminary Transfers                                          1.20                      $1,849.00

 TR                 Travel                                                     94.20                     $63,762.50

                                                                              721.80                    $832,149.50
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  Summary of Expenses
  Description                                                                                     Amount
Air Fare [E110]                                                                             $4,317.60
Airport Parking                                                                              $156.00
Auto Travel Expense [E109]                                                                  $1,480.03
Bloomberg                                                                                         $12.50
Working Meals [E111]                                                                        $2,095.36
Conference Call [E105]                                                                            $25.44
Delivery/Courier Service                                                                          $80.00
Federal Express [E108]                                                                            $88.26
Filing Fee [E112]                                                                            $350.00
Hotel Expense [E110]                                                                        $9,554.15
Lexis/Nexis- Legal Research [E                                                               $297.25
Outside Services                                                                           $77,418.50
Pacer - Court Research                                                                       $143.60
Postage [E108]                                                                                    $34.15
Reproduction Expense [E101]                                                                       $78.00
Reproduction/ Scan Copy                                                                      $455.80
Travel Expense [E110]                                                                        $108.00
Transcript [E116]                                                                            $120.00

                                                                                           $96,814.64
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                                                                                         Hours            Rate     Amount

  Case Administration [B110]
 05/05/2023   KLL     CA        Review docket and update critical dates memo.             0.30         545.00       $163.50

 05/09/2023   GNB     CA        Email with K. LaBrada and M. de Leon regarding            0.10         975.00        $97.50
                                returned to sender service of documents.

 05/09/2023   KLL     CA        Review documents for address of claimant return           0.30         545.00       $163.50
                                mail issue to confirm any additional address given.

 05/12/2023   KLL     CA        Review dockets and update critical dates memo.            0.30         545.00       $163.50

 05/17/2023   KLL     CA        Review return of service notice and confirm address       0.20         545.00       $109.00
                                listed on docket.

 05/19/2023   KLL     CA        Review dockets and update critical dates memo to          0.40         545.00       $218.00
                                same.

 05/23/2023   KLL     CA        Review orders entered on second amended                   0.30         545.00       $163.50
                                stipulations re tolling agreements and update critical
                                dates memo.

 05/25/2023   KBD     CA        Communications with UST regarding meeting.                0.10       1395.00        $139.50

 05/25/2023   KBD     CA        Call with G. Zipes, S. Cornell, V. Abriano and I.         0.20       1395.00        $279.00
                                Scharf regarding case matters.

 05/26/2023   KLL     CA        Review docket and update critical dates memo.             0.30         545.00       $163.50

 05/29/2023   KBD     CA        Analyze fee applications.                                 0.30       1395.00        $418.50

                                                                                           2.80                    $2,079.00

  Cemetery Transfers
 05/04/2023   KLL     CEM       Review and finalize second amended notice of              0.40         545.00       $218.00
                                presentment re Cemco.

 05/04/2023   AJK     CEM       Review PSZJ team e-mail re potential litigation.          0.20       1675.00        $335.00

 05/08/2023   KHB     CEM       Emails with F. Oswald, K. Dine and P. Shields re          0.40       1525.00        $610.00
                                CemCo document production on ability to pay
                                analysis.

 05/08/2023   KBD     CEM       Analyze information from CemCo.                           0.30       1395.00        $418.50

 05/09/2023   KHB     CEM       Emails with J. Stang and P. Shields re sharing ability    0.30       1525.00        $457.50
                                to pay model.

 05/15/2023   KHB     CEM       Confer with J. Stang re CemCo refusal to share            0.30       1525.00        $457.50
                                Marcum report and response to same (.2); email
                                from CemCo counsel re same (.1).
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                                                                                         Hours           Rate     Amount

 05/15/2023   KBD     CEM       Review correspondence from counsel for CemCo              0.10      1395.00        $139.50
                                regarding outstanding issues.

 05/15/2023   JIS     CEM       Call K. Brown regarding Cemco status.                     0.10      1695.00        $169.50

 05/22/2023   KHB     CEM       Revise complaint against CemCo and Cemetery               2.70      1525.00       $4,117.50
                                Trust (1.7); prepare draft email to F. Oswald re same
                                (.3); confer with G. Greenwood re complaint
                                revisions (.3); emails with G. Greenwood re CemCo
                                complaint (.2); emails with J. Stang re timing for
                                filing complaint (.2)

 05/22/2023   GSG     CEM       Revise complaint.                                         1.80      1095.00       $1,971.00

 05/22/2023   JIS     CEM       Draft email for cemetery litigation.                      0.10      1695.00        $169.50

 05/23/2023   KHB     CEM       Revise CemCo complaint (1.1); emails with G.              1.50      1525.00       $2,287.50
                                Greenwood re same (.3); confer with J. Stang re
                                same (.1)

 05/23/2023   JIS     CEM       Call K. Brown regarding cemetery litigation.              0.10      1695.00        $169.50

 05/24/2023   LSC     CEM       Research and correspondence with G. Greenwood             0.30        545.00       $163.50
                                regarding logistics and local requirements with
                                respect to filing of new adversary proceeding.

 05/24/2023   KHB     CEM       Edit complaint (.5); email from J. Stang re same (.1).    0.60      1525.00        $915.00

 05/24/2023   GSG     CEM       Confer with L. Canty re service and filing of             0.40      1095.00        $438.00
                                complaint (.2) and review local guidelines re
                                coversheet and related documents (.2).

 05/24/2023   GSG     CEM       Review and revise coversheet re complaint.                0.40      1095.00        $438.00

 05/24/2023   BMM     CEM       Discussion with K. Dine regarding plan and CemCo          0.40        875.00       $350.00
                                complaint.

 05/24/2023   BMM     CEM       Communications with PSZJ team regarding claims            0.30        875.00       $262.50
                                numbers.

 05/24/2023   KBD     CEM       Call with B. Michael regarding plan and CemCo             0.40      1395.00        $558.00
                                complaint.

 05/25/2023   LSC     CEM       Research regarding agent for service of process in        0.20        545.00       $109.00
                                connection with anticipated filing of adversary
                                proceeding.

 05/25/2023   KHB     CEM       Emails to counsel for CemCo re accepting service          0.40      1525.00        $610.00
                                and filing of complaint (.2); emails with G.
                                Greenwood re filing of complaint (.1); emails with
                                B. Michael re same (.1).

 05/25/2023   GSG     CEM       Emails from/to K. Brown and B. Michael re                 0.20      1095.00        $219.00
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                                                                                         Hours           Rate      Amount
                                complaint and service.
 05/26/2023   LSC     CEM       Finalize and coordinate filing of adversary               0.60        545.00       $327.00
                                complaint against Catholic Cemeteries of the Roman
                                Catholic Diocese of Rockville Centre, Inc. and
                                correspondence with team regarding the same (.4);
                                follow up regarding issuance of summons and
                                correspondence regarding the same (.2).

 05/26/2023   GSG     CEM       Finalize complaint and coversheet.                        0.40      1095.00        $438.00

 05/26/2023   GSG     CEM       Emails to/from K. Brown and L. Canty re filing and        0.10      1095.00        $109.50
                                service of complaint.

 05/26/2023   KBD     CEM       Draft correspondence to Special Mediator.                 0.10      1395.00        $139.50

 05/26/2023   KBD     CEM       Communications relating to filing of CemCo                0.10      1395.00        $139.50
                                complaint.

 05/30/2023   JIS     CEM       Discussion regarding CemCo next steps with PSZJ           0.20      1695.00        $339.00
                                team.

 05/30/2023   KHB     CEM       Confer with Judge Gonzalez and K. Dine re CemCo           0.90      1525.00       $1,372.50
                                complaint and mediation issues (.6); emails with
                                Judge Gonzalez and K. Dine re same (.3).

 05/30/2023   GSG     CEM       Emails to/from L. Canty and K. Brown re summons           0.10      1095.00        $109.50
                                and service of complaint.

 05/30/2023   GSG     CEM       Emails to/from B. Michael re CemCo/Diocese                0.10      1095.00        $109.50
                                issues.

 05/30/2023   KBD     CEM       Call with A. Gonzalez, E. Fisher and K. Brown             0.40      1395.00        $558.00
                                regarding CemCo complaint.

 05/30/2023   KBD     CEM       Follow-up call with K. Brown regarding complaint.         0.10      1395.00        $139.50

 05/31/2023   KLL     CEM       Update critical dates memo re CemCo adversary             0.40        545.00       $218.00
                                case filing.

 05/31/2023   LSC     CEM       Retrieve and circulate summons with respect to            0.50        545.00       $272.50
                                Catholic Cemeteries of the Roman Catholic Diocese
                                of Rockville Centre, Inc. (.1); coordinate service of
                                summons and complaint upon counsel agreeing to
                                accept service (.4).

 05/31/2023   IAWN CEM          Telephone call with PSZJ team re CemCo strategy           0.20      1395.00        $279.00
                                and plan with regard to insurance implications.

 05/31/2023   KHB     CEM       Team call re response to CemCo counter-offer (.2);        1.20      1525.00       $1,830.00
                                draft letter re response to counter offer (.8); emails
                                with G. Greenwood and B. Michael re same (.2).
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 05/31/2023   GSG     CEM       Conference with PSZJ/BB team re next steps re            0.20       1095.00         $219.00
                                CemCo.

 05/31/2023   GSG     CEM       Confer with L. Canty re cover letter and service of      0.20       1095.00         $219.00
                                complaint.

 05/31/2023   GSG     CEM       Review summons and form of pretrial order.               0.20       1095.00         $219.00

 05/31/2023   GSG     CEM       Email K. LaBrada re pretrial conference and              0.10       1095.00         $109.50
                                deadlines.

 05/31/2023   KBD     CEM       Discussion with PSZJ and BB team regard CemCo            0.20       1395.00         $279.00
                                next steps.

 05/31/2023   BMM     CEM       Discussion regarding CemCo next steps with PSZJ          0.20         875.00        $175.00
                                and BB team.

                                                                                         18.40                    $23,185.00

  Claims Admin/Objections[B310]
 05/01/2023   AJK     CO        Review order re claims objection.                        0.80       1675.00        $1,340.00

 05/01/2023   IAWN CO           Telephone call with B. Michael re claims ruling.         0.50       1395.00         $697.50

 05/01/2023   IAWN CO           Review claims ruling.                                    0.60       1395.00         $837.00

 05/01/2023   JIS     CO        Review memo opinion regarding notice objections.         0.60       1695.00        $1,017.00

 05/01/2023   JIS     CO        Telephone call with R. Tollner regarding opinion         0.10       1695.00         $169.50
                                regarding notice claims.

 05/01/2023   JIS     CO        Call J. Amala regarding chief Judge Glenn ruling on      0.20       1695.00         $339.00
                                notice objections.

 05/01/2023   KBD     CO        Analyze court decision regarding claims objections.      0.60       1395.00         $837.00

 05/01/2023   BMM     CO        Analyze chief Judge Glenn's decision on notice           1.00         875.00        $875.00
                                claims objections.

 05/01/2023   BMM     CO        Call with J. Stang regarding claims objection order.     0.40         875.00        $350.00

 05/01/2023   BMM     CO        Communication with SCC regarding objection order.        0.30         875.00        $262.50

 05/01/2023   BMM     CO        Call with I. Nasatir regarding claims order and other    0.50         875.00        $437.50
                                case issues.

 05/02/2023   KBD     CO        Analyze issues relating to claims.                       0.50       1395.00         $697.50

 05/03/2023   JIS     CO        Call with state court counsel regarding coordination     0.70       1695.00        $1,186.50
                                of discovery conference.

 05/03/2023   JIS     CO        Call J. Lucas regarding BSA treatment of claims.         0.20       1695.00         $339.00
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 05/03/2023   JWL     CO        Call with J. Stang regarding claim objections and        1.30      1150.00       $1,495.00
                                channeling injunction (.2); review channeling
                                injunction in prior case as precedent (1.1).

 05/03/2023   KBD     CO        Telephone call with PSZJ and SCC regarding claims        0.90      1395.00       $1,255.50
                                objections.

 05/03/2023   BMM     CO        Call with SCC coordinating participation in May 16       0.70        875.00       $612.50
                                scheduling conference.

 05/03/2023   BMM     CO        Call with J. Amala regarding notice claims               0.40        875.00       $350.00
                                objections.

 05/03/2023   BMM     CO        Call with C. Bowers regarding claims objections.         0.20        875.00       $175.00

 05/04/2023   JWL     CO        Two calls with B. Michael regarding claims               1.10      1150.00       $1,265.00
                                objections and plan injunction in prior case as model
                                (.4); review plan in prior case regarding the same
                                (.7).

 05/04/2023   BMM     CO        Call with J. Lucas regarding claims objections.          0.30        875.00       $262.50

 05/04/2023   BMM     CO        Follow-up call with J. Lucas regarding claims            0.10        875.00        $87.50
                                objections.

 05/05/2023   KBD     CO        Review draft order regarding claims.                     0.20      1395.00        $279.00

 05/05/2023   KBD     CO        Telephone call with B. Michael regarding claims          0.10      1395.00        $139.50
                                order.

 05/05/2023   BMM     CO        Respond to SCC questions regarding priest files.         0.30        875.00       $262.50

 05/05/2023   BMM     CO        Call with a SCC regarding claims objections.             0.20        875.00       $175.00

 05/10/2023   JIS     CO        Meeting with SCC coordinating in May 16 claims           0.70      1695.00       $1,186.50
                                discovery conference.

 05/10/2023   KBD     CO        Call with SCC regarding claims objections.               0.70      1395.00        $976.50

 05/10/2023   BMM     CO        Call with SCC coordinating participation in May 16       0.70        875.00       $612.50
                                scheduling conference.

 05/11/2023   BMM     CO        Call with a SCC regarding claims objections.             0.30        875.00       $262.50

 05/15/2023   KBD     CO        Review communications with chambers regarding            0.10      1395.00        $139.50
                                claim objection hearing.

 05/15/2023   KBD     CO        Communication with UST regarding upcoming                0.10      1395.00        $139.50
                                hearing.

 05/16/2023   KLL     CO        Correspond with Veritext and request expedited           0.20        545.00       $109.00
                                order re 5/16 hearing transcript.
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 05/16/2023   GNB     CO        Email with PSZJ team regarding today's claim            1.10        975.00      $1,072.50
                                objection hearing and perpetrator files (.2);
                                Telephone conference with A. Kornfeld regarding
                                same (.3); Telephone conference with K. Dine
                                regarding same and regarding notice of abuse (.6).

 05/16/2023   JIS     CO        Call with J. Amala regarding coordination of claims     0.50      1695.00        $847.50
                                discovery.

 05/16/2023   GSG     CO        Review 8th Omnibus objection re claim issues.           0.40      1095.00        $438.00

 05/16/2023   GSG     CO        Review emails re discovery challenge and privilege      0.30      1095.00        $328.50
                                issues.

 05/16/2023   KBD     CO        Analyze issues relating to claims/notice discovery.     0.50      1395.00        $697.50

 05/16/2023   KBD     CO        Call with G. Greenwood regarding claim/notice           0.20      1395.00        $279.00
                                discovery issues.

 05/16/2023   KBD     CO        Call with G. Brown regarding claim                      0.60      1395.00        $837.00
                                discovery/notice issues.

 05/16/2023   KBD     CO        Calls (2) with B. Michael regarding claims              0.50      1395.00        $697.50
                                discovery/notice issues.

 05/16/2023   BMM     CO        Post-hearing follow-up (with K. Dine and J. Amala       1.40        875.00      $1,225.00
                                each in part).

 05/17/2023   KBD     CO        Analyze issues relating to claims discovery.            0.80      1395.00       $1,116.00

 05/17/2023   KBD     CO        Calls with B. Michael regarding claims issues.          0.50      1395.00        $697.50

 05/17/2023   KBD     CO        Analyze correspondence among PSZJ, SCC and              0.30      1395.00        $418.50
                                Jones Day regarding claims discovery.

 05/17/2023   KBD     CO        Call with Jones Day, J. Amala, J. Anderson, P.          1.30      1395.00       $1,813.50
                                Mones, P. Stoneking, M. Finnegan, and B. Michael
                                regarding discovery issues.

 05/17/2023   KBD     CO        Call with J. Stang regarding discovery issues.          0.20      1395.00        $279.00

 05/17/2023   BMM     CO        Communication with SCC preparing for meeting            0.50        875.00       $437.50
                                with the Diocese regarding notice claims.

 05/17/2023   BMM     CO        Call with Diocese and SCC regarding notice claims       1.20        875.00      $1,050.00
                                objections.

 05/17/2023   BMM     CO        Call with K. Dine regarding Diocese claims meeting.     0.50        875.00       $437.50

 05/18/2023   KLL     CO        Correspond with Veritext and review 5/16 transcript.    0.20        545.00       $109.00

 05/22/2023   JIS     CO        Call with K. Dine and B. Michael regarding              0.20      1695.00        $339.00
                                coordinating role on notice objections.
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 05/22/2023   JIS     CO        Call with state court counsel to coordinate issues        0.20      1695.00        $339.00
                                related to claims objections.

 05/22/2023   JIS     CO        Call B. Hall re status of archives of documents.          0.20      1695.00        $339.00

 05/24/2023   JWL     CO        Emails with PSZJ and J. Amala re debtor's objection       0.60      1150.00        $690.00
                                to channeled in prior bankrutpcy case claims (.4);
                                call with L. Leder re same issue (.2).

 05/24/2023   KBD     CO        Call with B. Michael regarding UST question.              0.30      1395.00        $418.50

 05/24/2023   BMM     CO        Call with K. Dine regarding UST's ad hoc group            0.30        875.00       $262.50
                                question.

 05/24/2023   BMM     CO        Communications with team regarding coordinating           0.20        875.00       $175.00
                                claims objection responses.

 05/25/2023   BMM     CO        Email communications with team and counsel                0.30        875.00       $262.50
                                regarding coordination of response to claims
                                objections.

 05/26/2023   JIS     CO        Review opinion regarding pre/post formation claims.       0.40      1695.00        $678.00

 05/26/2023   KBD     CO        Analyze court decision regarding claims.                  0.30      1395.00        $418.50

 05/26/2023   KBD     CO        Analyze objections to claims.                             0.20      1395.00        $279.00

 05/26/2023   KBD     CO        Call with B. Michael and J. Stang (for part)              0.50      1395.00        $697.50
                                regarding claims issues.

 05/26/2023   KBD     CO        Call with B. Michael regarding claims issues.             0.30      1395.00        $418.50

 05/26/2023   KBD     CO        Review proposed order regarding claims.                   0.20      1395.00        $279.00

 05/26/2023   BMM     CO        Review Court's order on Ninth Omnibus Objections.         0.30        875.00       $262.50

 05/29/2023   AJK     CO        Review order re objection to claims.                      0.30      1675.00        $502.50

 05/29/2023   BMM     CO        Review new objections and recent order on                 1.40        875.00      $1,225.00
                                objections and update coordination chart
                                accordingly.

 05/29/2023   BMM     CO        Call with P. Stongking regarding claims objections.       0.40        875.00       $350.00

 05/30/2023   JE      CO        Review commentary on and distribute Second                0.50      1450.00        $725.00
                                Circuit opinion on nonconsensual non-debtor
                                releases.

 05/31/2023   JIS     CO        Call with state court counsel regarding proposed          1.20      1695.00       $2,034.00
                                order re notice claims.

 05/31/2023   JWL     CO        Call with B. Michael and state court counsel              0.80      1150.00        $920.00
                                regarding objection to claims channeled to trust (.4);
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                                call with T. Patterson re channeled claims (.4).
 05/31/2023   KBD     CO        Analyze documents and communications relating to       0.40       1395.00         $558.00
                                objections.

 05/31/2023   KBD     CO        Call with SCC regarding claims objection matters.      0.40       1395.00         $558.00

 05/31/2023   BMM     CO        (Partial) Participate in call coordinating claims      0.10         875.00           $0.00
                                objection responses.

 05/31/2023   BMM     CO        Meeting with state court counsel coordinating          0.40         875.00        $350.00
                                response to Jones Day deadline for comments to
                                proposed order.

 05/31/2023   BMM     CO        Review transcript regarding claims discovery.          0.30         875.00        $262.50

 05/31/2023   BMM     CO        Review transcript of claims objection discovery        0.30         875.00        $262.50
                                hearing.

                                                                                       37.60                    $45,557.00

  Comp. of Prof./Others
 05/05/2023   BMM     CPO       Review debtor's supplemental disclosure regarding      0.40         875.00        $350.00
                                expert fees.

 05/15/2023   KLL     CPO       Review spreadsheets relating to Jones Day invoices.    0.40         545.00        $218.00

 05/29/2023   BMM     CPO       Review Jones Day fees.                                 0.60         875.00        $525.00

                                                                                        1.40                     $1,093.00

  CmteDisc Reqs- Finance/Govern
 05/01/2023   KHB     CRF       Review reply to CFN revised proposed order.            0.20       1525.00         $305.00

 05/01/2023   KBD     CRF       Telephone calls with N. Morin (Jones Day)              0.30       1395.00         $418.50
                                regarding cell tower sale.

 05/01/2023   KBD     CRF       Prepare comments to draft sale order.                  0.80       1395.00        $1,116.00

 05/01/2023   KBD     CRF       Telephone conferences with J. Stang regarding cell     0.20       1395.00         $279.00
                                tower sale.

 05/01/2023   KBD     CRF       Telephone call with B. Michael regarding cell tower    0.10       1395.00         $139.50
                                sale.

 05/02/2023   JIS     CRF       Review sale order regarding radio towers.              0.30       1695.00         $508.50

 05/02/2023   KBD     CRF       Prepare comments to proposed sale order.               0.60       1395.00         $837.00

 05/02/2023   KBD     CRF       Prepare for hearing with respect to sale order.        0.40       1395.00         $558.00

 05/03/2023   GSG     CRF       Review sale order re CFN and tower and spectrum        0.20       1095.00         $219.00
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                                income.
 05/05/2023   KBD     CRF       Correspondence with S. Coran (Lerman Senter)           0.10       1395.00         $139.50
                                regarding FCC Licenses.

 05/05/2023   KBD     CRF       Analyze information regarding potential financing.     0.40       1395.00         $558.00

 05/09/2023   KBD     CRF       Review Debtor objection to administrative claim.       0.10       1395.00         $139.50

 05/11/2023   KBD     CRF       Call with BRG and PSZJ regarding financing             0.60       1395.00         $837.00
                                matters.

 05/11/2023   KBD     CRF       Telephone call with N. Morin regarding cell tower      0.10       1395.00         $139.50
                                sale.

 05/11/2023   BMM     CRF       Call with BRG and K. Dine regarding exit financing     0.60         875.00        $525.00
                                analysis.

 05/12/2023   KBD     CRF       Call with WCO, counsel for WCO, S. Coran and J.        0.50       1395.00         $697.50
                                Stang regarding FCC Licenses.

 05/16/2023   KBD     CRF       Analyze draft side letter relating to cell towers.     0.30       1395.00         $418.50

 05/17/2023   KBD     CRF       Call with BRG and S. Coran regarding Spectrum          0.70       1395.00         $976.50
                                licenses.

 05/17/2023   KBD     CRF       Analyze draft side letter regarding Cell Tower         0.20       1395.00         $279.00
                                Leases.

 05/18/2023   KBD     CRF       Correspondence with Jones Day regarding Cell           0.10       1395.00         $139.50
                                Towers.

 05/22/2023   KBD     CRF       Telephone call with N. Morin regarding Spectrum        0.20       1395.00         $279.00
                                Assets.

 05/24/2023   KBD     CRF       Review revisions to side letter.                       0.20       1395.00         $279.00

 05/25/2023   KBD     CRF       Call with P. Jefferies, Jones Day, and S. Coran        0.50       1395.00         $697.50
                                regarding Spectrum Assets.

 05/30/2023   KBD     CRF       Analyze correspondence relating to FCC Licenses.       0.20       1395.00         $279.00

 05/30/2023   KBD     CRF       Call with S. Coran regarding FCC Licenses.             0.10       1395.00         $139.50

                                                                                        8.00                    $10,904.00

  CmteDisc Reqs - Parishes
 05/18/2023   BMM     CRP       Review emails regarding parish stipulation and 2022    0.50         875.00        $437.50
                                financials.

                                                                                        0.50                      $437.50
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  Cmte Disc Reqs - CVA
 05/16/2023   BMM     DCVA      Communications with team regarding CVA files and          0.70         875.00       $612.50
                                IAC documents.

 05/22/2023   BMM     DCVA      Review issues with SCC searches in Everlaw.               0.60         875.00       $525.00

                                                                                           1.30                    $1,137.50

  General Creditors Comm. [B150]
 05/25/2023   YPD     GC        Revision to Committee 5/23/23 Minutes and update          0.40         545.00       $218.00
                                Agenda and email to B. Michael for
                                review/comments.

                                                                                           0.40                     $218.00

  IAC/Affiliate Transactions
 05/02/2023   JIS     IAC       Call K. Brown regarding tolling agreement with IAC        0.40       1695.00        $678.00
                                party.

 05/02/2023   KHB     IAC       Confer with J. Stang re tolling agreements (.4);          0.40       1525.00        $610.00
                                confer with W. Heuer re same (.2).

 05/03/2023   KHB     IAC       Draft on amended tolling agreements (.3); and             0.50       1525.00        $762.50
                                emails with counsel for IAC targets re same (.2).

 05/04/2023   KLL     IAC       Review and finalize second amended notice of              0.40         545.00       $218.00
                                presentment re DOE.

 05/04/2023   KLL     IAC       Review and finalize service list for filing of tolling    0.20         545.00       $109.00
                                agreements.

 05/04/2023   KBD     IAC       Prepare notices of presentment and coordinate filing.     0.40       1395.00        $558.00

 05/11/2023   JIS     IAC       Call K. Brown regarding Seminary.                         0.30       1695.00        $508.50

 05/17/2023   KLL     IAC       Email chambers proposed orders relating to second         0.40         545.00       $218.00
                                amended tolling stipulations and order of
                                presentments on same.

 05/17/2023   GSG     IAC       Review tolling stipulations and confirm calendaring       0.10       1095.00        $109.50
                                re tolling agreements.

 05/19/2023   JIS     IAC       Call K. Brown regarding mediation outcome and             0.20       1695.00        $339.00
                                impact on IAC litigation.

 05/22/2023   KLL     IAC       Email chambers a follow up on entry of orders to          0.20         545.00       $109.00
                                second stipulation on tolling agreements.

 05/22/2023   GSG     IAC       Confer with K. Brown re IAC complaints (.1) and           0.60       1095.00        $657.00
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                                review UFTA/UVTA changes under NY DCL (.5).
 05/22/2023   GSG     IAC       Revise and update Seminary complaint and HS             1.40       1095.00       $1,533.00
                                complaint.

 05/22/2023   KBD     IAC       Review status of tolling agreements.                    0.10       1395.00        $139.50

 05/23/2023   GSG     IAC       Conform complaints.                                     0.30       1095.00        $328.50

 05/24/2023   GSG     IAC       Email B. Michael and K. Brown re complaints.            0.20       1095.00        $219.00

 05/30/2023   BMM     IAC       Call with K. Dine regarding Judge Gonzalez              0.30         875.00       $262.50
                                meeting and WCO.

                                                                                         6.40                    $7,359.00

  Interim Fee Applications
 05/02/2023   BMM     IFA       Prepare summary of expert invoices per Court's          0.80         875.00       $700.00
                                instructions.

 05/03/2023   GNB     IFA       Revise supplement to PSZJ’s sixth and seventh           1.90         975.00      $1,852.50
                                interim fee applications.

 05/03/2023   BMM     IFA       Draft supplemental interim fee application regarding    1.70         875.00      $1,487.50
                                expert expenses.

 05/04/2023   GNB     IFA       Make revisions to PSZJ supplement to its sixth and      0.10         975.00        $97.50
                                seventh interim fee applications.

 05/04/2023   GNB     IFA       Email with K. McNally regarding Stout invoices;         0.10         975.00        $97.50
                                Email B. Michael regarding same.

 05/04/2023   BMM     IFA       Revise supplemental interim fee application             0.60         875.00       $525.00
                                regarding expert expenses.

 05/04/2023   BMM     IFA       Call with Court regarding procedure for providing       0.10         875.00        $87.50
                                expert invoices.

 05/05/2023   KLL     IFA       Review and revise for filing supplement to PSZJ 6th     0.60         545.00       $327.00
                                and 7th interim fee applications.

 05/05/2023   KLL     IFA       Review and revise for filing expert supplement to       1.10         545.00       $599.50
                                first interim application.

 05/05/2023   GNB     IFA       Review exhibits to supplement to PSZJ’s sixth and       0.80         975.00       $780.00
                                seventh fee applications for work product.

 05/05/2023   KBD     IFA       Review draft pleading regarding expert expense.         0.20       1395.00        $279.00

 05/05/2023   KBD     IFA       Review Reed Smith pleading regarding expert             0.10       1395.00        $139.50
                                expense.

 05/05/2023   BMM     IFA       Final review of expert supplement for filing.           0.30         875.00       $262.50
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                                                                                         8.40                    $7,235.00

  Insurance Litigation
 05/03/2023   IAWN IL           Review Claro on insurance analysis.                      0.40      1395.00        $558.00

 05/03/2023   IAWN IL           Exchange emails with T. Flanagan re Claro                0.10      1395.00        $139.50
                                insurance analysis.

 05/04/2023   IAWN IL           Analyze Claro insurance analysis.                        0.40      1395.00        $558.00

 05/04/2023   IAWN IL           Exchange emails with T. Flanagan re Claro                0.10      1395.00        $139.50
                                insurance analysis.

 05/09/2023   IAWN IL           Review Claro final valuation and allocation studies.     1.50      1395.00       $2,092.50

 05/11/2023   IAWN IL           Review Chapin testimony and Arrowood letter to           2.20      1395.00       $3,069.00
                                Court.

 05/11/2023   KBD     IL        Analyze letter briefing with Court relating to           0.20      1395.00        $279.00
                                insurance litigation.

 05/11/2023   BMM     IL        Call with J. Bair regarding Arrowood depositions.        0.30        875.00       $262.50

 05/12/2023   IAWN IL           Review 3420 re notice.                                   0.20      1395.00        $279.00

 05/12/2023   KBD     IL        Review correspondence to Court regarding                 0.20      1395.00        $279.00
                                deposition.

 05/12/2023   BMM     IL        Review Arrowood filings in district Court                0.40        875.00       $350.00
                                proceeding.

 05/15/2023   KBD     IL        Analyze mandamus petition regarding Arrowood.            0.30      1395.00        $418.50

 05/23/2023   JIS     IL        Review of notice letter to carriers.                     0.10      1695.00        $169.50

 05/24/2023   KBD     IL        Review filings and correspondence relating to            0.20      1395.00        $279.00
                                insurance actions.

 05/25/2023   IAWN IL           Review Arrowood discovery letters.                       0.80      1395.00       $1,116.00

 05/26/2023   JIS     IL        Review/comment on insurance complaint.                   0.80      1695.00       $1,356.00

 05/26/2023   IAWN IL           Review notice letters to insurers re survivors notice.   0.20      1395.00        $279.00

 05/26/2023   IAWN IL           Review K. Dine email re notice letters to insurers re    0.10      1395.00        $139.50
                                survivors notice.

 05/30/2023   IAWN IL           Telephone call with J. Stang re Section 349 action.      0.20      1395.00        $279.00

 05/31/2023   IAWN IL           Review Section 349 complaint.                            0.20      1395.00        $279.00

 05/31/2023   IAWN IL           Review team emails re Section 349 complaint.             0.10      1395.00        $139.50

 05/31/2023   IAWN IL           Telephone call with BRG re analysis of insurance         0.50      1395.00        $697.50
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                                issues.
 05/31/2023   IAWN IL           Telephone call with B. Michael re BRG telephone        0.10       1395.00         $139.50
                                call.

                                                                                        9.60                    $13,298.00

  Mtgs/Conf w/Client
 05/01/2023   BDD     MCC       Email B. Michael re May 2 Committee meeting.           0.10         545.00         $54.50

 05/01/2023   IAWN MCC          Review K. Dine written update to Committee.            0.20       1395.00         $279.00

 05/01/2023   KBD     MCC       Prepare and analyze correspondence among PSZJ,         0.40       1395.00         $558.00
                                Committee and SCC regarding ongoing case issues.

 05/01/2023   KBD     MCC       Telephone conference regarding communications          0.30       1395.00         $418.50
                                with Committee and SCC.

 05/01/2023   BMM     MCC       Communication with Committee regarding ongoing         0.30         875.00        $262.50
                                case issues and meeting.

 05/02/2023   BDD     MCC       Email B. Michael re cancellation of May 2              0.10         545.00         $54.50
                                Committee meeting.

 05/02/2023   KBD     MCC       Telephone call with P. Stoneking regarding ongoing     0.10       1395.00         $139.50
                                case issues.

 05/02/2023   KBD     MCC       Prepare and review correspondence among SCC,           0.40       1395.00         $558.00
                                Committee and PSZJ regarding ongoing case issues.

 05/03/2023   KBD     MCC       Analyze correspondence among SCC, PSZJ and             0.20       1395.00         $279.00
                                Committee regarding ongoing case issues.

 05/03/2023   JIS     MCC       Call B. Michael regarding case status.                 0.10       1695.00         $169.50

 05/05/2023   IAWN MCC          Telephone call with SCC re next steps.                 1.20       1395.00        $1,674.00

 05/05/2023   KBD     MCC       Prepare for call with SCC regarding ongoing case       0.20       1395.00         $279.00
                                issues.

 05/05/2023   KBD     MCC       Call with SCC regarding ongoing case issues.           1.20       1395.00        $1,674.00

 05/05/2023   KBD     MCC       Telephone call with B. Michael regarding meeting       0.20       1395.00         $279.00
                                with Committee.

 05/05/2023   BMM     MCC       Review financial information and claims valuation      1.10         875.00        $962.50
                                presentation to prepare for SCC meeting.

 05/05/2023   BMM     MCC       Review financial information and claims valuation      0.60         875.00        $525.00
                                presentation to prepare for SCC meeting.

 05/05/2023   BMM     MCC       Participate in call with SCC regarding ongoing case    1.20         875.00       $1,050.00
                                issues.
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 05/05/2023   KLL     MCC       Attend SCC call.                                        1.30        545.00       $708.50

 05/08/2023   BDD     MCC       Email B. Michael re May 9 committee meeting.            0.10        545.00        $54.50

 05/08/2023   KLL     MCC       Retrieve hearing transcripts for SCC.                   0.20        545.00       $109.00

 05/08/2023   KBD     MCC       Telephone call with R. Tollner regarding Committee      0.10      1395.00        $139.50
                                meeting.

 05/08/2023   KBD     MCC       Analyze correspondence among PSZJ, SCC and              0.20      1395.00        $279.00
                                Committee regarding ongoing case matters.

 05/08/2023   BMM     MCC       Communication with Committee regarding                  0.20        875.00       $175.00
                                upcoming meetings.

 05/09/2023   BDD     MCC       Call with/emails to Y. Derac re May 10 Committee        0.30        545.00       $163.50
                                meetings (.20); emails B. Michael and K. Dine re
                                same (.10).

 05/09/2023   KBD     MCC       Review correspondence among PSZJ and                    0.10      1395.00        $139.50
                                Committee regarding ongoing case issues.

 05/09/2023   YPD     MCC       Analysis of emails and attachments from B. Dassa re     0.20        545.00       $109.00
                                Committee meeting for May 10.

 05/09/2023   YPD     MCC       Telephone conference with B. Dassa re May 10            0.10        545.00        $54.50
                                Committee meeting and handling of same.

 05/09/2023   YPD     MCC       Analysis of B. Dassa email to B. Michael re             0.10        545.00        $54.50
                                Committee meeting and reply to same.

 05/10/2023   JIS     MCC       Attend Committee meeting regarding mediation.           1.70      1695.00       $2,881.50

 05/10/2023   KBD     MCC       Call with SCC and Committee regarding ongoing           1.70      1395.00       $2,371.50
                                case issues.

 05/10/2023   BMM     MCC       (Partial) Participate in Committee meeting regarding    1.10        875.00       $962.50
                                ongoing case issues.

 05/10/2023   YPD     MCC       Preparation of email to B. Dassa and B. Michael re      0.10        545.00        $54.50
                                Committee meeting; and review of email from K.
                                Dine on same and reply thereto.

 05/10/2023   YPD     MCC       Analysis of documents for Committee meeting May         0.20        545.00       $109.00
                                10 re mediation.

 05/10/2023   YPD     MCC       Attend May 10 Committee meeting.                        0.20        545.00       $109.00

 05/10/2023   YPD     MCC       Attend and take notes at Committee meeting.             1.70        545.00       $926.50

 05/11/2023   BDD     MCC       Revisions to minutes from May 10 committee              0.10        545.00        $54.50
                                meeting and email Y. Derac re same.
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 05/11/2023   KBD     MCC       Communications among PSZJ, SCC and Committee           0.30      1395.00        $418.50
                                regarding ongoing case matters.

 05/11/2023   KBD     MCC       Call with B. Michael regarding Committee meeting       0.40      1395.00        $558.00
                                about mediation strategy.

 05/11/2023   BMM     MCC       Communications with team, SCC and Committee            1.30        875.00      $1,137.50
                                regarding mediation and case status.

 05/11/2023   BMM     MCC       Call with K. Dine regarding Committee meeting.         0.40        875.00       $350.00

 05/11/2023   YPD     MCC       Analysis of documents and preparation of agenda for    0.20        545.00       $109.00
                                May 15 Committee meeting.

 05/11/2023   YPD     MCC       Analyze of documents and notes from May 10             1.00        545.00       $545.00
                                Committee meeting and prepare draft minutes (.9);
                                and email to B. Dassa, K. Dine and B. Michael for
                                review and approval thereof (.1).

 05/11/2023   YPD     MCC       Analyze of email from B. Dassa re Committee            0.10        545.00        $54.50
                                minutes and respond to same.

 05/11/2023   YPD     MCC       Analysis of emails from B. Michael, B. Dassa and       0.20        545.00       $109.00
                                K. Dine re Committee meeting and respond to
                                emails thereto.

 05/12/2023   AJK     MCC       Call with SCC re case strategy and issues.             0.70      1675.00       $1,172.50

 05/12/2023   KBD     MCC       Call with SCC regarding ongoing issues.                0.70      1395.00        $976.50

 05/12/2023   KBD     MCC       Correspond with the Committee regarding ongoing        0.10      1395.00        $139.50
                                case issues.

 05/12/2023   BMM     MCC       Participate in call with SCC regarding ongoing case    0.70        875.00       $612.50
                                issues.

 05/12/2023   BMM     MCC       Communicate with Committee regarding upcoming          0.20        875.00       $175.00
                                hearing.

 05/12/2023   KLL     MCC       Attend SCC call for updates on mediation and           0.80        545.00       $436.00
                                upcoming mediations.

 05/15/2023   KBD     MCC       Call with B. Michael regarding Committee meeting       0.80      1395.00       $1,116.00
                                on ongoing issues.

 05/15/2023   KBD     MCC       Prepare for committee meeting on ongoing issues.       0.20      1395.00        $279.00

 05/15/2023   KBD     MCC       Call with Committee and SCC regarding ongoing          1.10      1395.00       $1,534.50
                                issues (1.0); prepare for same (.1).

 05/15/2023   KBD     MCC       Communications with SCC and Committee                  0.30      1395.00        $418.50
                                regarding ongoing case issues.
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 05/15/2023   BMM     MCC       Call with K. Dine regarding Committee meeting.         0.80        875.00       $700.00

 05/15/2023   BMM     MCC       (Partial) Participate in meeting with Committee        1.00        875.00       $875.00
                                regarding ongoing case issues.

 05/15/2023   YPD     MCC       Email with to B. Dassa re May15 Committee              0.20        545.00       $109.00
                                meeting (.1); review of response from B. Michael re
                                agenda and comments to May10 minutes (.1).

 05/15/2023   YPD     MCC       Revise prior Committee meeting minutes (.2); draft     0.40        545.00       $218.00
                                agenda for May15 Committee meeting (.2).

 05/15/2023   YPD     MCC       Attend Committee meeting.                              1.00        545.00       $545.00

 05/15/2023   YPD     MCC       Analyze documents and draft Committee meeting          1.00        545.00       $545.00
                                Minutes for May15 meeting.

 05/16/2023   KBD     MCC       Communications with Committee and SCC                  0.20      1395.00        $279.00
                                regarding ongoing case issues.

 05/16/2023   YPD     MCC       Revise May 15 Committee meeting Minutes.               0.30        545.00       $163.50

 05/16/2023   YPD     MCC       Review documents and prepare agenda for next           0.40        545.00       $218.00
                                Committee meeting.

 05/17/2023   KBD     MCC       Correspond with Committee and SCC regarding            0.20      1395.00        $279.00
                                ongoing case issues.

 05/17/2023   BMM     MCC       Call with P. Stoneking regarding meeting with the      0.20        875.00       $175.00
                                Diocese.

 05/17/2023   BMM     MCC       Call with J. Daly regarding mediation.                 0.20        875.00       $175.00

 05/21/2023   KBD     MCC       Communicate with PSZJ and SCC regarding                0.30      1395.00        $418.50
                                ongoing case matters.

 05/21/2023   KBD     MCC       Call with SCC, PSZJ and Burns Bair LLP regarding       1.40      1395.00       $1,953.00
                                ongoing case issues.

 05/21/2023   KBD     MCC       Telephone call with B. Michael regarding call with     0.10      1395.00        $139.50
                                SCC.

 05/21/2023   BMM     MCC       Communications with SCC regarding upcoming             0.20        875.00       $175.00
                                meeting.

 05/21/2023   BMM     MCC       Prepare for SCC meeting (with J. Amala in part).       0.50        875.00       $437.50

 05/21/2023   BMM     MCC       Call with SCC regarding ongoing case issues.           1.40        875.00      $1,225.00

 05/22/2023   KBD     MCC       Call with SCC regarding ongoing case matters.          0.80      1395.00       $1,116.00

 05/22/2023   BMM     MCC       Call with SCC regarding ongoing case issues.           0.80        875.00       $700.00
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 05/23/2023   BDD     MCC       Emails Y. Derac re May 23 Committee meeting.          0.10        545.00        $54.50

 05/23/2023   KBD     MCC       Call with B. Michael regarding Committee call.        0.20      1395.00        $279.00

 05/23/2023   KBD     MCC       Participate in call with Committee and SCC            1.20      1395.00       $1,674.00
                                regarding ongoing case issues.

 05/23/2023   BMM     MCC       Draft memo regarding next steps if case is            1.70        875.00      $1,487.50
                                dismissed.

 05/23/2023   BMM     MCC       Draft memo regarding next steps.                      1.50        875.00      $1,312.50

 05/23/2023   BMM     MCC       Draft memo regarding next steps if case is            0.90        875.00       $787.50
                                dismissed.

 05/23/2023   BMM     MCC       Participate in Committee meeting regarding ongoing    1.20        875.00      $1,050.00
                                case issues.

 05/23/2023   YPD     MCC       Prepare of email to Committee members re May 23       0.40        545.00       $218.00
                                agenda and may 15 Minutes.

 05/23/2023   YPD     MCC       Analyze of documents for May 23 Committee             0.10        545.00        $54.50
                                meeting.

 05/23/2023   YPD     MCC       Attend and take notes at Committee meeting.           1.10        545.00       $599.50

 05/23/2023   YPD     MCC       Review emails from J. Daly and C. D'Estries and B.    0.20        545.00       $109.00
                                Michael and respond thereto.

 05/23/2023   YPD     MCC       Read emails from B. Michael and B. Dassa re May       0.20        545.00       $109.00
                                23 Committee meeting (.1); and finalize docs and
                                respond to emails (.1).

 05/24/2023   KBD     MCC       Analyze and revise draft memorandum to                1.80      1395.00       $2,511.00
                                Committee on ongoing case issues.

 05/24/2023   BMM     MCC       Draft memo regarding next steps.                      0.40        875.00       $350.00

 05/24/2023   BMM     MCC       Draft memo regarding next steps.                      0.60        875.00       $525.00

 05/24/2023   YPD     MCC       Prepare of Minutes on May 23 Committee meeting        1.00        545.00       $545.00
                                (.7); and draft agenda for May 30 Committee
                                meeting and revision to same (.3).

 05/25/2023   KBD     MCC       Analyze memorandum to Committee regarding             0.30      1395.00        $418.50
                                ongoing case issues.

 05/25/2023   BMM     MCC       Call with K. Dine regarding UST question regarding    0.20        875.00       $175.00
                                order in Diocese of Rochester case.

 05/26/2023   YPD     MCC       Review Cemetery Litigation Complaint in               0.40        545.00       $218.00
                                connection with agenda.
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 05/26/2023   IAWN MCC          Telephone call with SCC regarding status of case.       0.80      1395.00       $1,116.00

 05/26/2023   IAWN MCC          Follow-up with team re telephone call with SCC.         0.30      1395.00        $418.50

 05/26/2023   JIS     MCC       Call with state Court counsel regarding mediation       0.80      1695.00       $1,356.00
                                status.

 05/26/2023   JIS     MCC       Follow up with PSZJ team regarding next steps after     0.30      1695.00        $508.50
                                call with state Court counsel.

 05/26/2023   KBD     MCC       Call with SCC regarding ongoing case matters.           0.80      1395.00       $1,116.00

 05/26/2023   KBD     MCC       Follow-up with PSZJ team regarding next steps.          0.30      1395.00        $418.50

 05/26/2023   KBD     MCC       Review correspondence to SCC regarding ongoing          0.20      1395.00        $279.00
                                case matters.

 05/26/2023   BMM     MCC       Participate in meeting with state Court counsel         0.80        875.00       $700.00
                                regarding ongoing case issues.

 05/26/2023   BMM     MCC       Follow-up call from SCC meeting with PSZJ team.         0.30        875.00       $262.50

 05/26/2023   KLL     MCC       Attend weekly SCC conference call.                      0.80        545.00       $436.00

 05/29/2023   KBD     MCC       Review correspondence among Committee and SCC           0.10      1395.00        $139.50
                                regarding ongoing case issues.

 05/30/2023   JIS     MCC       (Partial) Call with Committee regardinga status.        1.20      1695.00       $2,034.00

 05/30/2023   KBD     MCC       Prepare for call with J. Daly and R. Tollner            0.40      1395.00        $558.00
                                regarding ongoing case matters.

 05/30/2023   KBD     MCC       Call with R. Tollner, J. Daly and B. Michael            0.30      1395.00        $418.50
                                regarding ongoing case issues.

 05/30/2023   KBD     MCC       Call with Committee and SCC regarding ongoing           1.30      1395.00       $1,813.50
                                case issues.

 05/30/2023   BMM     MCC       Call with Executive Committee regarding fees and        0.30        875.00       $262.50
                                ongoing case issues.

 05/30/2023   BMM     MCC       Emails with team and SCC regarding upcoming             0.20        875.00       $175.00
                                meetings.

 05/30/2023   BMM     MCC       (Partial) Participate in Committee meeting regarding    1.20        875.00      $1,050.00
                                ongoing case issues.

 05/30/2023   YPD     MCC       Attend May 30 Committee meeting.                        1.20        545.00       $654.00

 05/30/2023   YPD     MCC       Read email from B. Michael re Committee meeting         0.20        545.00       $109.00
                                on May 30 (.1); telephone conference with B.
                                Michael on same (.1).
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 05/31/2023   JIS     MCC       ( Partial) Attend Committee meeting.                   0.70       1695.00        $1,186.50

 05/31/2023   KBD     MCC       Call with SCC regarding ongoing case issues.           1.20       1395.00        $1,674.00

 05/31/2023   KBD     MCC       Follow-up call regarding SCC call with J. Stang, B.    0.30       1395.00         $418.50
                                Michael and I. Nasatir.

 05/31/2023   BMM     MCC       Meet with SCC regarding case strategy.                 1.20         875.00       $1,050.00

 05/31/2023   BMM     MCC       Follow-up call with PSZJ team regarding SCC call.      0.30         875.00        $262.50

 05/31/2023   YPD     MCC       Review documents and prepare of May 30                 1.00         545.00        $545.00
                                Committee meeting agenda.

 05/31/2023   KLL     MCC       Attend SCC conference call.                            1.10         545.00        $599.50

 05/31/2023   YPD     MCC       Review emails from B. Michael re SCC meeting           0.20         545.00        $109.00
                                (.1); K. LaBrada reply to same and respond thereto
                                (.1).

 05/31/2023   YPD     MCC       Analyze of documents and prepare of agenda for         0.20         545.00        $109.00
                                June 6 Committee meeting.

                                                                                       70.00                    $71,516.00

  Motion to Dismiss
 04/10/2023   CHM     MD        Emails with T. Flanagan (.2); and run Everlaw          1.20         925.00       $1,110.00
                                searches per (1.0).

 05/01/2023   JIS     MD        Call A. Kornfeld regarding issues related to motion    0.20       1695.00         $339.00
                                to dismiss.

 05/02/2023   KLL     MD        Correspond with Veritext re April 17 Court             0.20         545.00        $109.00
                                conference.

 05/02/2023   AJK     MD        Strategy planning re motion to dismiss evidentiary     0.80       1675.00        $1,340.00
                                hearing.

 05/02/2023   GNB     MD        Telephone conference with T. Flanagan regarding        0.10         975.00         $97.50
                                hearing preparation.

 05/02/2023   GNB     MD        Email K. LaBrada regarding April 17, 2023 Court        0.10         975.00         $97.50
                                conference transcript.

 05/02/2023   GNB     MD        Briefly review Debtor’s April 17 document              0.80         975.00        $780.00
                                production (.2); Outline for A. Kornfeld and T.
                                Flanagan deficiencies with same (.6).

 05/03/2023   AJK     MD        Analyze motion to dismiss litigation strategy.         1.30       1675.00        $2,177.50

 05/03/2023   GNB     MD        Email K. Dine and B. Michael regarding Jones Day       0.10         975.00         $97.50
                                search terms for its document production on April
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                                17, 2023.
 05/03/2023   GNB     MD        Telephone conference with T. Flanagan regarding         0.30        975.00       $292.50
                                discovery and evidentiary hearing strategy.

 05/03/2023   GNB     MD        Email with PSZJ team regarding issues for               0.10        975.00        $97.50
                                tomorrow’s weekly internal call.

 05/03/2023   JIS     MD        Call A. Kornfeld regarding motion to dismiss status.    0.10      1695.00        $169.50

 05/03/2023   EAW     MD        Telephone call with A. Kornfeld re: resumption of       0.10      1095.00        $109.50
                                discovery.

 05/03/2023   TCF     MD        Correspondence with A. Kornfeld regarding motion        0.10      1075.00        $107.50
                                to dismiss strategy.

 05/03/2023   TCF     MD        Correspondence with document review team                0.10      1075.00        $107.50
                                regarding review.

 05/03/2023   TCF     MD        Document review.                                        2.80      1075.00       $3,010.00

 05/03/2023   TCF     MD        Telephone conference with A. Kornfeld, G. Brown         0.30      1075.00        $322.50
                                and E. Wagner regarding discovery and litigation
                                strategy.

 05/04/2023   KLL     MD        Retrieve 4/17/23 Court conference transcript and        0.20        545.00       $109.00
                                circulate same.

 05/04/2023   GNB     MD        Email with PSZJ team in preparation for tomorrow’s      0.10        975.00        $97.50
                                strategy and discovery call.

 05/04/2023   KHB     MD        Emails with A. Kornfield re motion to dismiss           0.10      1525.00        $152.50
                                scheduling and staffing.

 05/04/2023   EAW     MD        Review background materials relating to motion to       0.60      1095.00        $657.00
                                dismiss.

 05/04/2023   EAW     MD        Emails to/from A. Kornfeld, G. Brown and T.             0.10      1095.00        $109.50
                                Flanagan re: resumption of discovery and motion to
                                dismiss.

 05/04/2023   TCF     MD        Analyze discovery issues.                               0.90      1075.00        $967.50

 05/04/2023   TCF     MD        Analyze motion to dismiss litigation and strategy       1.40      1075.00       $1,505.00
                                issues.

 05/04/2023   TCF     MD        Analyze expert report issues.                           3.60      1075.00       $3,870.00

 05/04/2023   TCF     MD        Document review.                                        1.60      1075.00       $1,720.00

 05/04/2023   TCF     MD        Analyze litigation strategy and motion to dismiss       0.60      1075.00        $645.00
                                discovery issues.

 05/04/2023   IAWN MD           Review Moore expert report with regard to               1.00      1395.00       $1,395.00
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                                                                                      Hours           Rate     Amount
                                insurance aspects.
 05/05/2023   AJK     MD        Review and analyze Moore expert report.                2.00      1675.00       $3,350.00

 05/05/2023   AJK     MD        Further analyze of Moore's expert report.              1.30      1675.00       $2,177.50

 05/05/2023   AJK     MD        Call with K. McNally re expert issues.                 1.00      1675.00       $1,675.00

 05/05/2023   AJK     MD        Review PSZJ e-mail and documents re motion to          0.20      1675.00        $335.00
                                dismiss.

 05/05/2023   GNB     MD        Telephone conference with B. Michael regarding         0.40        975.00       $390.00
                                strategy and discovery.

 05/05/2023   GNB     MD        Telephone conference with A. Kornfeld, T.              0.90        975.00       $877.50
                                Flanagan, and E. Wagner regarding discovery and
                                litigation strategy.

 05/05/2023   GNB     MD        Review documents produced by Jones Day on April        0.20        975.00       $195.00
                                17, 2023 in response to Committee requests for
                                production.

 05/05/2023   GNB     MD        Telephone conference with T. Flanagan regarding        0.20        975.00       $195.00
                                document review, and potential meet and confer
                                issues regarding Jones Day’s production of
                                documents on April 17, 2023.

 05/05/2023   EAW     MD        Telephone call with A. Kornfeld, G. Brown and T.       0.90      1095.00        $985.50
                                Flanagan re: resumption of discovery and litigation
                                strategy.

 05/05/2023   EAW     MD        Emails to/from A. Kornfeld, G. Brown and T.            0.10      1095.00        $109.50
                                Flanagan re: resumption of discovery and motion to
                                dismiss.

 05/05/2023   EAW     MD        Review background materials relating to motion to      3.10      1095.00       $3,394.50
                                dismiss.

 05/05/2023   TCF     MD        Preparation for PSZJ discovery and litigation call.    0.50      1075.00        $537.50

 05/05/2023   TCF     MD        Attend PSZJ litigation team call regarding strategy    0.90      1075.00        $967.50
                                and discovery re motion to dismiss.

 05/05/2023   TCF     MD        Document review.                                       0.50      1075.00        $537.50

 05/05/2023   TCF     MD        Telephone conference with K. McNally and A.            1.00      1075.00       $1,075.00
                                Kornfeld regarding rebuttal report.

 05/05/2023   TCF     MD        Analyze claim valuation issues.                        0.80      1075.00        $860.00

 05/05/2023   TCF     MD        Document review.                                       3.00      1075.00       $3,225.00

 05/05/2023   KBD     MD        Review documents relating to CFN transaction with      0.30      1395.00        $418.50
                                regard to motion to dismiss .
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 05/05/2023   BMM     MD        Call with G. Brown regarding motion to dismiss          0.40        875.00       $350.00
                                email review.

 05/05/2023   AJK     MD        Call with G. Brown, T. Flanagan and E. Wagner re        0.90      1675.00       $1,507.50
                                strategy and discovery re motion to dismiss.

 05/05/2023   TCF     MD        Telephone conference with G. Brown regarding            0.20      1075.00        $215.00
                                document review and meet and confer issues.

 05/06/2023   AJK     MD        Call with BRG, B. Michael and T. Flanagan re            0.70      1675.00       $1,172.50
                                expert rebuttal issues.

 05/06/2023   TCF     MD        Document review.                                        1.20      1075.00       $1,290.00

 05/06/2023   TCF     MD        Analyze of BRG rebuttal report.                         0.30      1075.00        $322.50

 05/06/2023   TCF     MD        Correspond with BRG regarding rebuttal report.          0.10      1075.00        $107.50

 05/06/2023   TCF     MD        Prepare for call with BRG regarding rebuttal report.    0.50      1075.00        $537.50

 05/06/2023   TCF     MD        Call with BRG regarding rebuttal report.                0.70      1075.00        $752.50

 05/06/2023   TCF     MD        Correspond with G. Brown regarding scheduling           0.10      1075.00        $107.50
                                order on motion to dismiss.

 05/06/2023   BMM     MD        Meeting with BRG and PSZJ regarding Moore               0.70        875.00       $612.50
                                expert report.

 05/07/2023   TCF     MD        Document review.                                        1.60      1075.00       $1,720.00

 05/08/2023   GNB     MD        Telephone conference with L. Canty regarding            0.10        975.00        $97.50
                                support at possible evidentiary hearing in July.

 05/08/2023   TCF     MD        Analyze claim valuation and discovery issues.           1.20      1075.00       $1,290.00

 05/08/2023   BMM     MD        Communications with IT department regarding             0.20        875.00       $175.00
                                Diocese email production review.

 05/09/2023   AJK     MD        Prepare for call with K. McNally re expert issue.       0.70      1675.00       $1,172.50

 05/09/2023   AJK     MD        Call with K. McNally and T. Flanagan re expert          1.00      1675.00       $1,675.00
                                issues.

 05/09/2023   TCF     MD        Analyze motion to dismiss and discovery issues.         0.60      1075.00        $645.00

 05/09/2023   TCF     MD        Telephone conference with K. McNally and A.             1.00      1075.00       $1,075.00
                                Kornfeld regarding valuation and rebuttal report.

 05/10/2023   TCF     MD        Attend K. McNally mediation presentation via Zoom       0.70      1075.00        $752.50
                                for relevance to motion to dismiss strategy.

 05/11/2023   AJK     MD        Prepare for meeting with BRG re rebuttal expert         2.50      1675.00       $4,187.50
                                report.
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 05/11/2023   AJK     MD        Attend BRG meeting re rebuttal expert report (.9);     1.00      1675.00       $1,675.00
                                prepare for meeting (.1).

 05/11/2023   GNB     MD        Email with P. Noaker regarding critical dates for      0.10        975.00        $97.50
                                potential discovery and evidentiary hearing.

 05/11/2023   TCF     MD        Telephone conference with BRG regarding rebuttal       0.90      1075.00        $967.50
                                report.

 05/11/2023   BMM     MD        Call with BRG and litigation team regarding            0.90        875.00       $787.50
                                response to Moore expert report.

 05/12/2023   AJK     MD        Analyze of potential litigation issue.                 0.60      1675.00       $1,005.00

 05/12/2023   GNB     MD        Draft email to B. Michael regarding Diocese's          0.40        975.00       $390.00
                                document requests.

 05/12/2023   IAWN MD           Telephone call with B. Michael and K. Dine re          0.60      1395.00        $837.00
                                insurance issues relevant to motion to dismiss
                                (partial).

 05/12/2023   IAWN MD           Telephone call with J. Stang re motion to dismiss      0.20      1395.00        $279.00
                                strategy.

 05/12/2023   BMM     MD        Review withhold emails for privilege log.              0.50        875.00       $437.50

 05/12/2023   BMM     MD        Call with attorney regarding receipt of motion to      0.10        875.00        $87.50
                                dismiss.

 05/16/2023   AJK     MD        Analyze legal issues re discovery.                     0.70      1675.00       $1,172.50

 05/16/2023   AJK     MD        Exchange e-mails with PSZJ team re legal issues in     0.40      1675.00        $670.00
                                connection with discovery.

 05/19/2023   JIS     MD        Call A. Kornfeld regarding outcome of mediation        0.20      1695.00        $339.00
                                and impact on motion to dismiss.

 05/22/2023   BMM     MD        Draft next steps memo.                                 1.50        875.00      $1,312.50

 05/23/2023   KBD     MD        Call with B. Michael regarding dismissal matters.      0.20      1395.00        $279.00

 05/24/2023   BMM     MD        Call with K. Dine regarding next steps memo.           0.20        875.00       $175.00

 05/25/2023   IAWN MD           Telephone call with team re mediation and motion to    0.80      1395.00       $1,116.00
                                dismiss and plan (partial) with regard to
                                insurance-related issues.

 05/25/2023   IAWN MD           Review and comment on PSZJ memo re motion to           1.00      1395.00       $1,395.00
                                dismiss with regard to insurance implications.

 05/25/2023   AJK     MD        (Partial) Attend team meeting re strategy.             0.80      1675.00       $1,340.00

 05/25/2023   AJK     MD        Review memo re motion to dismiss issues.               0.50      1675.00        $837.50
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 05/25/2023   KHB     MD        Review memo to SCC re impact of dismissal (.3);          0.40      1525.00        $610.00
                                and email from I. Nasatir re same (.1).

 05/25/2023   GSG     MD        Review status memo re motion to dismiss and              0.30      1095.00        $328.50
                                comments.

 05/25/2023   TCF     MD        PSZJ team call regarding litigation issues regarding     0.80      1075.00        $860.00
                                motion to dismiss, plan and disclosure statement and
                                experts (partial attendance).

 05/25/2023   TCF     MD        Analyze of litigation issues regarding motion to         0.80      1075.00        $860.00
                                dismiss and experts.

 05/25/2023   TCF     MD        Telephone conference with K. McNally regarding           0.70      1075.00        $752.50
                                motion to dismiss and valuation.

 05/26/2023   AJK     MD        Analyze mediation report in connection with              0.40      1675.00        $670.00
                                litigation strategy.

 05/30/2023   AJK     MD        Analyze legal issue.                                     0.40      1675.00        $670.00

 05/30/2023   JIS     MD        Call with team regarding motion to dismiss strategy.     0.60      1695.00       $1,017.00

 05/30/2023   GSG     MD        Review legal issues re third-party releases.             0.40      1095.00        $438.00

 05/31/2023   AJK     MD        PSZJ team call re litigation strategy.                   0.60      1675.00       $1,005.00

 05/31/2023   AJK     MD        Analyze motion to dismiss strategy.                      1.20      1675.00       $2,010.00

 05/31/2023   AJK     MD        Call with G. Brown re motion to dismiss litigation       0.50      1675.00        $837.50
                                issue.

 05/31/2023   GNB     MD        Telephone conferences (x2) with K. Dine regarding        0.60        975.00       $585.00
                                strategy and evidentiary issues on motion to dismiss.

 05/31/2023   GNB     MD        Telephone conference with A. Kornfeld regarding          0.50        975.00       $487.50
                                motion to dismiss research issues.

 05/31/2023   GNB     MD        Research legal issues relating to motion to dismiss      1.60        975.00      $1,560.00
                                evidentiary hearing.

 05/31/2023   IAWN MD           Telephone call with PSZJ team re motion to dismiss       0.60      1395.00        $837.00
                                for insurance implications.

 05/31/2023   IAWN MD           Follow-up call with PSZJ team re motion to dismiss.      0.30      1395.00        $418.50

 05/31/2023   IAWN MD           Review PSZJ memo re motion to dismiss with               0.50      1395.00        $697.50
                                regard to insurance implications.

 05/31/2023   KHB     MD        Team call re motion to dismiss discovery and             0.60      1525.00        $915.00
                                strategy issues.

 05/31/2023   GSG     MD        Review email from J. Bair and memo re insurance          0.20      1095.00        $219.00
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                                issues.
 05/31/2023   GSG     MD        Conference with PSZJ/BB team re motion to dismiss       0.60       1095.00          $657.00
                                strategy.

 05/31/2023   TCF     MD        PSZJ team call regarding motion to dismiss and          0.60       1075.00          $645.00
                                litigation strategy.

 05/31/2023   TCF     MD        Analyze claim valuation report.                         3.40       1075.00         $3,655.00

 05/31/2023   KBD     MD        Revisions to memorandum on next steps.                  0.40       1395.00          $558.00

 05/31/2023   KBD     MD        Call with team regarding motion to dismiss strategy.    0.60       1395.00          $837.00

 05/31/2023   KBD     MD        Calls (2) with G. Brown regarding strategy and          0.60       1395.00          $837.00
                                evidentiary/discovery issues on motion to dismiss.

 05/31/2023   BMM     MD        Call with team regarding motion to dismiss              0.60         875.00         $525.00
                                gameplan.

 05/31/2023   JIS     MD        Attend PSZJ follow-up call on case status.              0.30       1695.00          $508.50

                                                                                        82.30                    $101,863.50

  Mediation
 05/01/2023   AJK     ME        Telephone conference with J. Stang re strategy.         0.20       1675.00          $335.00

 05/01/2023   AJK     ME        Telephone conference with B. Michael re mediation       0.20       1675.00          $335.00
                                issues.

 05/01/2023   AJK     ME        Review and analyze draft mediation PowerPoint           1.30       1675.00         $2,177.50
                                deck.

 05/01/2023   AJK     ME        Review e-mails re mediation.                            0.20       1675.00          $335.00

 05/01/2023   IAWN ME           Telephone call with J. Stang re mediation.              0.20       1395.00          $279.00

 05/01/2023   IAWN ME           Review comments to draft mediation statement.           0.30       1395.00          $418.50

 05/01/2023   IAWN ME           Review Claro presentation for mediation.                0.80       1395.00         $1,116.00

 05/01/2023   IAWN ME           Exchange emails with Claro re presentation for          0.20       1395.00          $279.00
                                mediation.

 05/01/2023   GSG     ME        Email from/to B. Michael re insurance issues.           0.20       1095.00          $219.00

 05/01/2023   TCF     ME        Telephone conference with K. McNally and A.             0.60       1075.00          $645.00
                                Kornfeld regarding mediation report regarding
                                valuation.

 05/01/2023   TCF     ME        Analyze issues regarding mediation report on claims     0.50       1075.00          $537.50
                                valuation.
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 05/01/2023   TCF     ME        Analyze claims valuation issues.                        1.20      1075.00       $1,290.00

 05/01/2023   TCF     ME        Telephone conference with K. McNally and A.             0.60      1075.00        $645.00
                                Kornfeld regarding claims valuation issues.

 05/01/2023   TCF     ME        Communications with Claro regarding mediation           0.20      1075.00        $215.00
                                and valuation matters.

 05/01/2023   KBD     ME        Review revised versions of mediation statement.         0.40      1395.00        $558.00

 05/01/2023   KBD     ME        Telephone conferences with B. Michael regarding         0.50      1395.00        $697.50
                                preparation for mediation.

 05/01/2023   KBD     ME        Telephone call with PSZJ and BRG preparing for          0.90      1395.00       $1,255.50
                                mediation.

 05/01/2023   BMM     ME        Revise mediation statement.                             1.30        875.00      $1,137.50

 05/01/2023   BMM     ME        Call with I. Nasatir regarding mediation statement.     0.20        875.00       $175.00

 05/01/2023   BMM     ME        Call with A. Kornfield regarding value expert and       0.20        875.00       $175.00
                                mediation statement.

 05/01/2023   BMM     ME        (Partial) Meeting with BRG and PSZJ regarding           0.70        875.00       $612.50
                                mediation.

 05/01/2023   BMM     ME        Analyze assets and mediation strategy (with K. Dine     2.30        875.00      $2,012.50
                                in part).

 05/01/2023   BMM     ME        Revise mediation statement.                             0.50        875.00       $437.50

 05/02/2023   AJK     ME        Review draft of mediation statement.                    0.70      1675.00       $1,172.50

 05/02/2023   AJK     ME        Review and analyze parish mediation statement.          0.80      1675.00       $1,340.00

 05/02/2023   AJK     ME        Review and analyze debtor's mediation statement.        1.20      1675.00       $2,010.00

 05/02/2023   IAWN ME           Review mediation briefs of Diocese and parishes.        0.80      1395.00       $1,116.00

 05/02/2023   IAWN ME           Comment to team re mediation briefs of dioceses         0.10      1395.00        $139.50
                                and parishes.

 05/02/2023   IAWN ME           Review and comment on Committee mediation               0.30      1395.00        $418.50
                                statement.

 05/02/2023   IAWN ME           Exchange emails with B. Michael re Committee            0.10      1395.00        $139.50
                                mediation statement.

 05/02/2023   DHH     ME        Update mediation attendee list and circulate same to    0.30        395.00       $118.50
                                team.

 05/02/2023   GSG     ME        Review emails re mediation status.                      0.10      1095.00        $109.50

 05/02/2023   TCF     ME        Analyze claim valuation issues.                         0.80      1075.00        $860.00
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 05/02/2023   TCF     ME        Revise mediation report.                                0.70      1075.00        $752.50

 05/02/2023   TCF     ME        Telephone conference with B. Michael regarding          0.10      1075.00        $107.50
                                valuation and claims issues.

 05/02/2023   TCF     ME        Telephone conference with K. McNally and B.             0.40      1075.00        $430.00
                                Michael regarding valuation and claims issues.

 05/02/2023   TCF     ME        Analyze valuation report.                               2.60      1075.00       $2,795.00

 05/02/2023   TCF     ME        Telephone conference with K. McNally and B.             0.30      1075.00        $322.50
                                Michael regarding mediation and report.

 05/02/2023   TCF     ME        Edit mediation statement.                               0.50      1075.00        $537.50

 05/02/2023   TCF     ME        Telephone conference with A. Kornfeld regarding         0.30      1075.00        $322.50
                                mediation strategy.

 05/02/2023   TCF     ME        Telephone conference with K. McNally regarding          0.10      1075.00        $107.50
                                mediation report.

 05/02/2023   TCF     ME        Analyze mediation and valuation issues.                 0.60      1075.00        $645.00

 05/02/2023   KBD     ME        Review revised mediation statement.                     0.50      1395.00        $697.50

 05/02/2023   KBD     ME        Telephone calls with B. Michael regarding               0.40      1395.00        $558.00
                                mediation strategy.

 05/02/2023   KBD     ME        Analyze mediation statements of other parties.          0.80      1395.00       $1,116.00

 05/02/2023   BMM     ME        Analyze claims valuation information for mediation.     1.30        875.00      $1,137.50

 05/02/2023   BMM     ME        Revise and submit mediation statement (with J.          1.30        875.00      $1,137.50
                                Stang, P. Van Osselaer, I. Nasatir, T. Flanagan, and
                                K. McNally in part).

 05/03/2023   AJK     ME        Analyze issues re mediation presentation.               0.80      1675.00       $1,340.00

 05/03/2023   AJK     ME        Review mediation presentation draft.                    0.60      1675.00       $1,005.00

 05/03/2023   IAWN ME           Emails and telephone call to T. Flanagan re Claro       0.40      1395.00        $558.00
                                analysis.

 05/03/2023   IAWN ME           Review P. Shields email re insurance.                   0.30      1395.00        $418.50

 05/03/2023   IAWN ME           Review chair emails re mediation report and B.          0.20      1395.00        $279.00
                                Michael response.

 05/03/2023   JIS     ME        Call with B. Michael and K. Dine (part) regarding       1.50      1695.00       $2,542.50
                                mediation preparation.

 05/03/2023   JIS     ME        Call with Claro regarding mediation status.             0.10      1695.00        $169.50

 05/03/2023   JIS     ME        Review draft valuation of claims.                       0.30      1695.00        $508.50
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 05/03/2023   GSG     ME        Review mediation statements of DRVC, parishes,          0.50      1095.00        $547.50
                                and Committee as pertain to preliminary injunction
                                issues.

 05/03/2023   GSG     ME        Review Claro report re claim valuation as relates to    0.30      1095.00        $328.50
                                preliminary injunction issues.

 05/03/2023   TCF     ME        Analyze mediation and valuation issues.                 0.60      1075.00        $645.00

 05/03/2023   TCF     ME        Telephone conference with A. Kornfeld regarding         0.20      1075.00        $215.00
                                mediation presentation.

 05/03/2023   TCF     ME        Analyze mediation presentation.                         1.60      1075.00       $1,720.00

 05/03/2023   TCF     ME        Telephone conference with G. Brown regarding            0.30      1075.00        $322.50
                                mediation issues.

 05/03/2023   TCF     ME        Telephone conferences with K. McNally and A.            0.20      1075.00        $215.00
                                Kornfeld regarding mediation and valuation issues.

 05/03/2023   TCF     ME        Analyze mediation report.                               0.40      1075.00        $430.00

 05/03/2023   TCF     ME        Correspond with G. Brown regarding valuation and        0.10      1075.00        $107.50
                                mediation report.

 05/03/2023   TCF     ME        Correspondence with Claro regarding valuation and       0.10      1075.00        $107.50
                                mediation report.

 05/03/2023   TCF     ME        Telephone conference with B. Michael regarding          0.10      1075.00        $107.50
                                insurance.

 05/03/2023   TCF     ME        Review insurance matters.                               0.40      1075.00        $430.00

 05/03/2023   KBD     ME        Analyze mediation statements submitted by parties.      1.20      1395.00       $1,674.00

 05/03/2023   KBD     ME        Telephone call (for part) with B. Michael and J.        0.40      1395.00        $558.00
                                Stang regarding mediation.

 05/03/2023   KBD     ME        Telephone call with B. Michael regarding mediation      0.10      1395.00        $139.50
                                next steps.

 05/03/2023   KBD     ME        Analyze information and issues for mediation.           2.20      1395.00       $3,069.00

 05/03/2023   BMM     ME        Review Diocese and parishes mediation statements.       1.40        875.00      $1,225.00

 05/03/2023   BMM     ME        Analyze BRG ability to pay analysis.                    0.50        875.00       $437.50

 05/03/2023   BMM     ME        Analyze BRG ability to pay analysis.                    0.90        875.00       $787.50

 05/03/2023   BMM     ME        Call with K. Dine and J. Stang regarding preparation    1.50        875.00      $1,312.50
                                for May 10 mediation.

 05/03/2023   BMM     ME        Analyze BRG ability to pay analysis.                    1.90        875.00      $1,662.50
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 05/04/2023   AJK     ME        Attend PSZJ and insurance counsel team meeting re          1.60      1675.00       $2,680.00
                                mediation strategy.

 05/04/2023   AJK     ME        Revise mediation presentation.                             0.70      1675.00       $1,172.50

 05/04/2023   AJK     ME        Review PSZJ e-mails re presentation.                       0.30      1675.00        $502.50

 05/04/2023   AJK     ME        Revise mediation presentation.                             0.60      1675.00       $1,005.00

 05/04/2023   GNB     ME        (Partial) Call with PSZJ and Burns Bair regarding          1.20        975.00      $1,170.00
                                strategy for mediation regarding litigation issues.

 05/04/2023   IAWN ME           Review BRG analysis of insurance.                          0.40      1395.00        $558.00

 05/04/2023   IAWN ME           Review Ecclesia reserve work papers and PSIP               1.00      1395.00       $1,395.00
                                materials.

 05/04/2023   IAWN ME           Telephone call with team re mediation.                     1.60      1395.00       $2,232.00

 05/04/2023   IAWN ME           Telephone call with BRG re ability to pay analysis.        0.50      1395.00        $697.50

 05/04/2023   IAWN ME           Review mediation statements.                               1.80      1395.00       $2,511.00

 05/04/2023   IAWN ME           Telephone call with SCC re mediation.                      0.60      1395.00        $837.00

 05/04/2023   JIS     ME        PSZJ team call regarding issues related to upcoming        1.60      1695.00       $2,712.00
                                mediation.

 05/04/2023   JIS     ME        Call K. Dine regarding issues related to mediation         0.20      1695.00        $339.00
                                strategy.

 05/04/2023   JIS     ME        Call with state Court counsel regarding mediation          0.60      1695.00       $1,017.00
                                offers/counteroffers.

 05/04/2023   KHB     ME        Confer with J. Stang re mediation issues (.3); review      2.50      1525.00       $3,812.50
                                mediation statements with relation to litigation (2.2).

 05/04/2023   GSG     ME        Partial call with J. Stang, B. Michael, K. Dine, I.        0.60      1095.00        $657.00
                                Nasatir, J. Bair, G. Brown, A. Kornfeld, and T.
                                Flanagan regarding mediation/litigation status.

 05/04/2023   TCF     ME        PSZJ & Burns Bair team meeting regarding                   1.60      1075.00       $1,720.00
                                mediation strategy.

 05/04/2023   TCF     ME        Telephone conference with K. McNally regarding             0.10      1075.00        $107.50
                                mediation presentation and valuation.

 05/04/2023   TCF     ME        Assess mediation presentation and valuation.               0.60      1075.00        $645.00

 05/04/2023   KBD     ME        Call with B. Michael regarding mediation strategy          0.50      1395.00        $697.50
                                and expert fees.

 05/04/2023   KBD     ME        Calls (two) with B. Michael regarding mediation            0.90      1395.00       $1,255.50
                                strategy.
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 05/04/2023   KBD     ME        Call with B. Michael regarding asset analysis for       0.50      1395.00        $697.50
                                mediation.

 05/04/2023   KBD     ME        Call with PSZJ team and Burns Bair LLP regarding        1.60      1395.00       $2,232.00
                                mediation strategy.

 05/04/2023   KBD     ME        Analyze information relating to mediation.              1.70      1395.00       $2,371.50

 05/04/2023   KBD     ME        Call with PSZJ and BRG regarding financial              0.50      1395.00        $697.50
                                analysis.

 05/04/2023   KBD     ME        Telephone call with J. Stang regarding mediation.       0.20      1395.00        $279.00

 05/04/2023   KBD     ME        Analyze correspondence among mediators and              0.30      1395.00        $418.50
                                parties.

 05/04/2023   BMM     ME        Analyze parish and Diocese mediation statements.        1.00        875.00       $875.00

 05/04/2023   BMM     ME        Call with K. Dine regarding asset analysis for          0.50        875.00       $437.50
                                mediation.

 05/04/2023   BMM     ME        Call with K. Dine regarding mediation strategy.         0.70        875.00       $612.50

 05/04/2023   BMM     ME        Review draft presentation from Claro for mediation      0.30        875.00       $262.50
                                (with T. Flanagan in part).

 05/04/2023   BMM     ME        Call with PSZJ and BRG team regarding mediation         1.60        875.00      $1,400.00
                                strategy.

 05/04/2023   BMM     ME        Call with K. Dine regarding mediation strategy.         0.20        875.00       $175.00

 05/04/2023   BMM     ME        Call with T. Flanagan regarding Claro mediation         0.20        875.00       $175.00
                                presentation.

 05/04/2023   BMM     ME        Call with BRG regarding financial analysis for          0.50        875.00       $437.50
                                mediation.

 05/04/2023   BMM     ME        Call with K. Dine regarding mediation strategy and      0.50        875.00       $437.50
                                expert fees.

 05/05/2023   AJK     ME        Review e-mail exchange with PSZJ team re                0.20      1675.00        $335.00
                                valuation.

 05/05/2023   IAWN ME           Telephone call with team re mediation.                  0.40      1395.00        $558.00

 05/05/2023   KBD     ME        Call with PSZJ team regarding preparation for           0.40      1395.00        $558.00
                                mediation.

 05/05/2023   KBD     ME        Analyze financial information relating to mediation.    0.80      1395.00       $1,116.00

 05/05/2023   BMM     ME        Call with PSZJ team regarding mediation strategy.       0.40        875.00       $350.00

 05/05/2023   BMM     ME        Draft presentation for May 10 mediation session.        1.80        875.00      $1,575.00
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 05/07/2023   IAWN ME           Review Burns Bair LLP presentation.                    0.80      1395.00       $1,116.00

 05/07/2023   IAWN ME           Exchange emails with team re Burns Bair LLP            0.30      1395.00        $418.50
                                presentation.

 05/08/2023   AJK     ME        Review final mediation presentation.                   1.30      1675.00       $2,177.50

 05/08/2023   GSG     ME        Review powerpoint re issues, review IAC transfer       0.80      1095.00        $876.00
                                details, and email comments to B. Michael re same.

 05/08/2023   KBD     ME        Analyze draft insurance presentation.                  0.30      1395.00        $418.50

 05/08/2023   KBD     ME        Revise presentation relating to mediation.             1.80      1395.00       $2,511.00

 05/08/2023   KBD     ME        Telephone call with B. Michael regarding mediation     0.30      1395.00        $418.50
                                presentation.

 05/08/2023   KBD     ME        Telephone call with B. Michael regarding mediation     0.20      1395.00        $279.00
                                presentation.

 05/08/2023   KBD     ME        Telephone call with B. Michael regarding mediation     1.00      1395.00       $1,395.00
                                presentation and strategy.

 05/08/2023   KBD     ME        Analyze information relating to financing and          0.60      1395.00        $837.00
                                related correspondence with BRG.

 05/08/2023   KBD     ME        Analyze financial and claim information in             0.70      1395.00        $976.50
                                preparation for mediation.

 05/08/2023   BMM     ME        Call with K. Dine regarding mediation preparation      1.00        875.00       $875.00
                                and strategy.

 05/08/2023   BMM     ME        Analyze financial analysis for mediation               2.20        875.00      $1,925.00
                                presentation.

 05/08/2023   BMM     ME        Call with K. Dine regarding mediation presentation.    0.20        875.00       $175.00

 05/08/2023   BMM     ME        Call with K. Dine regarding mediation presentation.    0.30        875.00       $262.50

 05/08/2023   BMM     ME        Communication with team regarding mediation            0.20        875.00       $175.00
                                presentation.

 05/09/2023   AJK     ME        Review Committee expert presentation.                  0.80      1675.00       $1,340.00

 05/09/2023   IAWN ME           Review and edit presentation.                          2.20      1395.00       $3,069.00

 05/09/2023   JIS     ME        Review and edit presentation for mediator.             2.20      1695.00       $3,729.00

 05/09/2023   GSG     ME        Review comments and revisions from I. Nasatir re       0.20      1095.00        $219.00
                                mediation powerpoint.

 05/09/2023   KBD     ME        Prepare for mediation session.                         2.80      1395.00       $3,906.00

 05/09/2023   KBD     ME        Telephone calls with J. Stang regarding mediation.     0.20      1395.00        $279.00
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 05/09/2023   KBD     ME        Review correspondence among PSZJ regarding          0.20      1395.00        $279.00
                                mediation matters.

 05/09/2023   KBD     ME        Review correspondence with mediators.               0.10      1395.00        $139.50

 05/09/2023   BMM     ME        Revise mediation powerpoint.                        1.40        875.00      $1,225.00

 05/10/2023   GNB     ME        Review emails from B. Michael and G. Greenwood      0.10        975.00        $97.50
                                email regarding mediation issue; Email with T.
                                Flanagan regarding same.

 05/10/2023   IAWN ME           Participate in pre-mediation meeting with SCC.      1.50      1395.00       $2,092.50

 05/10/2023   IAWN ME           Attend mediation.                                   5.10      1395.00       $7,114.50

 05/10/2023   IAWN ME           Participate in post-mediation meeting with SCC.     0.50      1395.00        $697.50

 05/10/2023   IAWN ME           Meet with SCC re mediation.                         1.50      1395.00       $2,092.50

 05/10/2023   JIS     ME        Attend pre-mediation meeting with Committee         1.50      1695.00       $2,542.50
                                professionals.

 05/10/2023   JIS     ME        Atten mediation session with co-mediators, State    5.10      1695.00       $8,644.50
                                Court Counsel, and Committee professionals.

 05/10/2023   JIS     ME        Attend post-mediation meeting with Committee        0.50      1695.00        $847.50
                                professionals.

 05/10/2023   GSG     ME        Review counteroffer and prior exchange.             0.20      1095.00        $219.00

 05/10/2023   KBD     ME        Prepare for mediation session with PSZJ and BB      1.50      1395.00       $2,092.50
                                teams (for part).

 05/10/2023   KBD     ME        Attend mediation session with Judge Cave, P. Van    5.10      1395.00       $7,114.50
                                Osselaer, PSZJ, Burns Bair LLP and SCC.

 05/10/2023   KBD     ME        Follow-up regarding mediation with PSZJ, Burns      0.50      1395.00        $697.50
                                Bair LLP and SCC.

 05/10/2023   KBD     ME        Follow-up regarding mediation with PSZJ.            1.10      1395.00       $1,534.50

 05/10/2023   BMM     ME        Prepare for mediation.                              0.90        875.00       $787.50

 05/10/2023   BMM     ME        Pre-mediation meeting with Committee                1.50        875.00      $1,312.50
                                professionals.

 05/10/2023   BMM     ME        Mediation session with co-mediators, SCC, and       5.10        875.00      $4,462.50
                                Committee professionals.

 05/10/2023   BMM     ME        Post-mediation discussion with Committee            0.50        875.00       $437.50
                                professionals and SCC.

 05/11/2023   AJK     ME        Attend PSZJ team meeting re mediation strategy.     1.40      1675.00       $2,345.00
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 05/11/2023   GNB     ME        Attend internal PSZJ and Burns Bair call regarding         1.40        975.00      $1,365.00
                                mediation issues.

 05/11/2023   GNB     ME        Email J. Stang regarding issues for mediators.             0.10        975.00        $97.50

 05/11/2023   IAWN ME           Telephone conference with team re mediation.               1.40      1395.00       $1,953.00

 05/11/2023   IAWN ME           Telephone call with Burns Bair LLP re mediation.           0.20      1395.00        $279.00

 05/11/2023   IAWN ME           Review communications with Judge Cave.                     0.10      1395.00        $139.50

 05/11/2023   JIS     ME        Attend team status meeting regarding issues related        1.40      1695.00       $2,373.00
                                to mediation.

 05/11/2023   JIS     ME        Call P. Van Osselaer with follow up from mediation.        0.30      1695.00        $508.50

 05/11/2023   JIS     ME        Call K. Dine regarding follow up from mediation            0.10      1695.00        $169.50
                                with co-mediators.

 05/11/2023   KHB     ME        Team call re mediation strategy and response to            1.20      1525.00       $1,830.00
                                Seminary settlement proposal (partial) (.3); confer
                                with J. Stang re mediation strategy (.3); review letter
                                from Arrowwood counsel re DRVC misconduct in
                                deposition (.3); review email from G. Brown and
                                others at PSZJ re mediation issues and strategy (.3).

 05/11/2023   GSG     ME        Partial call with PSZJ and BB team re mediation            0.30      1095.00        $328.50
                                status and IAC targets.

 05/11/2023   GSG     ME        Review summary from G. Brown re mediation status           0.20      1095.00        $219.00
                                and issues.

 05/11/2023   TCF     ME        PSZJ team meeting re mediation and strategy.               1.40      1075.00       $1,505.00

 05/11/2023   KBD     ME        Analyze correspondence from mediators.                     0.10      1395.00        $139.50

 05/11/2023   KBD     ME        Strategize regarding mediation.                            1.40      1395.00       $1,953.00

 05/11/2023   KBD     ME        Attend PSZJ and Burns Bair LLP meeting in                  1.50      1395.00       $2,092.50
                                preparation for mediation.

 05/11/2023   KBD     ME        Calls with B. Michael regarding mediation strategy.        0.50      1395.00        $697.50

 05/11/2023   KBD     ME        Telephone call with J. Stang regarding mediation.          0.10      1395.00        $139.50

 05/11/2023   BMM     ME        Draft and circulate agenda for team meeting.               0.50        875.00       $437.50

 05/11/2023   BMM     ME        Meeting with PSZJ and BB team regarding                    1.50        875.00      $1,312.50
                                mediation strategy.

 05/11/2023   BMM     ME        Calls with K. Dine regarding mediation strategy.           0.50        875.00       $437.50

 05/12/2023   AJK     ME        Call with J. Stang re mediation strategy.                  0.30      1675.00        $502.50
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 05/12/2023   IAWN ME           Review mediator email.                                   0.10      1395.00        $139.50

 05/12/2023   KBD     ME        Call (for part) with J. Stang and A. Kornfeld            0.20      1395.00        $279.00
                                regarding mediation strategy.

 05/12/2023   KBD     ME        Call with B. Michael regarding meeting with SCC          0.50      1395.00        $697.50
                                on ongoing case issues.

 05/12/2023   KBD     ME        Call with J. Stang regarding mediation strategy.         0.40      1395.00        $558.00

 05/12/2023   KBD     ME        Review correspondence from mediators regarding           0.10      1395.00        $139.50
                                mediation.

 05/12/2023   KBD     ME        Analyze issues regarding mediation strategy (.4);        0.70      1395.00        $976.50
                                Communications with PSZJ team regarding
                                mediation (.2); call with B. Michael regarding
                                mediation (.1).

 05/13/2023   KBD     ME        Communications with PSZJ team regarding                  0.20      1395.00        $279.00
                                mediation.

 05/13/2023   KBD     ME        Telephone call with B. Michael regarding mediation.      0.10      1395.00        $139.50

 05/15/2023   GNB     ME        Telephone conference with B. Michael regarding           0.20        975.00       $195.00
                                mediation strategy.

 05/15/2023   IAWN ME           Telephone call with co-counsel re insurance.             1.00      1395.00       $1,395.00

 05/15/2023   IAWN ME           Telephone call with Burns Bair LLP re insurance.         0.20      1395.00        $279.00

 05/15/2023   IAWN ME           Review Diocese of Brooklyn pleading re insurance         0.20      1395.00        $279.00
                                as applies to this case.

 05/15/2023   JIS     ME        Review Diocese of Brooklyn writ of mandamus              0.20      1695.00        $339.00
                                relating to insurance.

 05/15/2023   JIS     ME        Review memo regarding mediation strategy.                0.10      1695.00        $169.50

 05/15/2023   JIS     ME        Attend Committee meeting regarding mediation             1.00      1695.00       $1,695.00
                                issues.

 05/15/2023   BMM     ME        Call with G. Brown regarding mediation and               0.20        875.00       $175.00
                                litigation strategy.

 05/16/2023   KHB     ME        Emails with B. Michael, G. Brown, A. Kornfield and       0.90      1525.00       $1,372.50
                                K. Dine re obtaining priest files and attorney-client
                                privilege issues (.7); confer A. Kornfield re same
                                (.2).

 05/17/2023   GSG     ME        Review transcript and respond to email from K.           0.50      1095.00        $547.50
                                Dine re Child Victims Act actions.

 05/17/2023   GSG     ME        Review preliminary injunctions (.3); discovery re        0.40      1095.00        $438.00
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                                CVA issues and respond to email from K. Dine (.1).
 05/17/2023   KBD     ME        Prepare for mediation.                                    1.20      1395.00        $1,674.00

 05/17/2023   KBD     ME        Analyze correspondence relating to proposed               0.30      1395.00         $418.50
                                production from Jones Day.

 05/18/2023   IAWN ME           Prepare for mediation with team.                          2.00      1395.00        $2,790.00

 05/18/2023   IAWN ME           Attend mediation.                                         3.30      1395.00        $4,603.50

 05/18/2023   JIS     ME        Prepare for mediation with PSZJ team.                     2.00      1695.00        $3,390.00

 05/18/2023   JIS     ME        Participate in mediation with Debtor and parishes.        3.30      1695.00        $5,593.50

 05/18/2023   KBD     ME        Prepare for mediation with I. Nasatir, J. Stang and B.    2.00      1395.00        $2,790.00
                                Michael.

 05/18/2023   KBD     ME        Participate in mediation.                                 3.30      1395.00        $4,603.50

 05/18/2023   KBD     ME        Analyze issues for mediation.                             1.20      1395.00        $1,674.00

 05/18/2023   KBD     ME        Telephone call with J. Stang regarding mediation          0.10      1395.00         $139.50
                                issues.

 05/18/2023   KBD     ME        Correspondence among mediators and Jones Day              0.20      1395.00         $279.00
                                regarding case issues.

 05/18/2023   BMM     ME        Prepare for mediation.                                    0.80        875.00        $700.00

 05/18/2023   BMM     ME        Prepare for mediation (with I. Nasatir, J. Stang, K.      2.00        875.00       $1,750.00
                                Dine).

 05/18/2023   BMM     ME        Participate in mediation.                                 3.30        875.00       $2,887.50

 05/18/2023   KLL     ME        Download information at attorney request for              0.40        545.00        $218.00
                                mediation.

 05/19/2023   IAWN ME           Attend mediation.                                        13.60      1395.00       $18,972.00

 05/19/2023   JIS     ME        Attend mediation.                                        13.60      1695.00       $23,052.00

 05/19/2023   KHB     ME        Confer with J. Stang re status of mediation and           1.00      1525.00        $1,525.00
                                strategy re IAC claims (.3); emails with J. Stang re:
                                same (.2); emails with G. Greenwood re same (.1);
                                confer with G. Greenwood re same (.1); emails with
                                K. Dine re tolling agreement orders (.2); call with K.
                                Dine re same (.1)

 05/19/2023   KBD     ME        Prepare for mediation with B. Michael (for part).         0.50      1395.00         $697.50

 05/19/2023   KBD     ME        Participate in mediation.                                13.50      1395.00       $18,832.50

 05/19/2023   BMM     ME        Prepare for mediation (with K. Dine in part).             0.50        875.00        $437.50
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 05/19/2023   BMM     ME        Participate in mediation.                             13.60        875.00      $11,900.00

 05/20/2023   GNB     ME        Email with K. Dine regarding mediation status.         0.10        975.00         $97.50

 05/20/2023   KHB     ME        Confer with J. Stang re status of mediation and IAC    0.30      1525.00         $457.50
                                issues

 05/21/2023   IAWN ME           Telephone call with SCC re mediation (partial).        1.00      1395.00        $1,395.00

 05/21/2023   KBD     ME        Analyze issues relating to continued mediation and     0.40      1395.00         $558.00
                                next steps.

 05/22/2023   IAWN ME           Telephone call with B. Michael re mediator             0.20      1395.00         $279.00
                                proposal.

 05/22/2023   IAWN ME           Review mediators' email re mediation proposal.         0.20      1395.00         $279.00

 05/22/2023   JIS     ME        Call with K. Dine and B. Michael regarding next        0.90      1695.00        $1,525.50
                                steps in mediation and bankruptcy strategy.

 05/22/2023   JIS     ME        Letter to mediators regarding mediator proposal.       0.50      1695.00         $847.50

 05/22/2023   JIS     ME        Call with state Court counsel regarding response to    0.60      1695.00        $1,017.00
                                mediator communications.

 05/22/2023   JIS     ME        Call J. Amala regarding status of mediation.           0.70      1695.00        $1,186.50

 05/22/2023   KHB     ME        Confer with K. Dine re tolling agreements              0.10      1525.00         $152.50

 05/22/2023   KBD     ME        Analyze communications with mediators regarding        0.30      1395.00         $418.50
                                ongoing matters.

 05/22/2023   KBD     ME        Call with B. Michael and J. Stang regarding            0.90      1395.00        $1,255.50
                                mediation next steps.

 05/22/2023   KBD     ME        Call with B. Michael and J. Stang regarding issues     0.20      1395.00         $279.00
                                relating to claim objections.

 05/22/2023   BMM     ME        Mediation follow-up with team and Committee.           3.50        875.00       $3,062.50

 05/22/2023   BMM     ME        Call with K. Dine and J. Stang regarding mediation     0.90        875.00        $787.50
                                strategy.

 05/22/2023   BMM     ME        Call with A. Kornfield regarding mediation.            0.30        875.00        $262.50

 05/23/2023   IAWN ME           Telephone call with SCC re mediation strategy.         1.20      1395.00        $1,674.00

 05/23/2023   IAWN ME           Review and comment on proposed language.               0.30      1395.00         $418.50

 05/23/2023   JIS     ME        Call with K. Diine and B. Michael regarding            1.00      1695.00        $1,695.00
                                mediation strategy.

 05/23/2023   JIS     ME        (Partial) meeting with committee regarding             0.90      1695.00        $1,525.50
                                mediation strategy.
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 05/23/2023   KBD     ME        Analyze information relating to mediation.               1.20      1395.00       $1,674.00

 05/23/2023   KBD     ME        Calls with B. Michael regarding mediation strategy.      0.70      1395.00        $976.50

 05/23/2023   KBD     ME        Call with B. Michael and J. Stang regarding              1.00      1395.00       $1,395.00
                                mediation next steps.

 05/23/2023   KBD     ME        Prepare and analyze communications with                  0.30      1395.00        $418.50
                                mediators.

 05/23/2023   BMM     ME        Analyze assets and mediation strategy (with K. Dine      1.10        875.00       $962.50
                                in part).

 05/23/2023   BMM     ME        Call with K. Dine and J. Stang regarding mediation       1.00        875.00       $875.00
                                strategy.

 05/23/2023   BMM     ME        Draft letter to co-mediators regarding demand.           0.60        875.00       $525.00

 05/24/2023   JIS     ME        Call with A. Kornfeld regarding state of mediation.      0.50      1695.00        $847.50

 05/24/2023   KBD     ME        Call with B. Michael regarding mediation strategy.       1.00      1395.00       $1,395.00

 05/24/2023   KBD     ME        Communications with mediators.                           0.20      1395.00        $279.00

 05/24/2023   BMM     ME        Finalize and send letter to mediators.                   0.20        875.00       $175.00

 05/24/2023   BMM     ME        Call with K. Dine regarding mediation strategy.          1.00        875.00       $875.00

 05/24/2023   BMM     ME        Discussion with J. Stang regarding mediation and         0.40        875.00       $350.00
                                case strategy.

 05/25/2023   GSG     ME        Partial conference call with J. Stang, B. Michael, K.    0.50      1095.00        $547.50
                                Dine, T. Flanagan, and A. Kornfeld re mediation
                                status and IAC issues.

 05/25/2023   KBD     ME        Call with B. Michael and I. Scharf (for part)            0.20      1395.00        $279.00
                                regarding case strategy.

 05/25/2023   KBD     ME        Call with PSZJ team and Burns Bair LLP (for part)        1.70      1395.00       $2,371.50
                                regarding mediation strategy.

 05/25/2023   BMM     ME        Participate in team call regarding case and mediation    1.70        875.00      $1,487.50
                                strategy and other issues.

 05/26/2023   GNB     ME        Review mediator’s report; Email with PSZJ team           0.10        975.00        $97.50
                                regarding strategy in light of same.

 05/26/2023   IAWN ME           Review mediator's report.                                0.10      1395.00        $139.50

 05/26/2023   GSG     ME        Emails to/from J. Stang and J. Bair re insurance.        0.20      1095.00        $219.00

 05/26/2023   TCF     ME        Telephone conference with B. Michael regarding           0.20      1075.00        $215.00
                                Claro mediation presentation.
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 05/26/2023   KBD     ME        Analyze report by mediator and related                  0.30      1395.00          $418.50
                                correspondence.

 05/30/2023   IAWN ME           Telephone call with SCC re mediation (partial).         0.50      1395.00          $697.50

 05/30/2023   IAWN ME           Analyze emails from PSZJ re third-party releases.       0.20      1395.00          $279.00

 05/30/2023   IAWN ME           Conference with J. Stang, B. Michael and K. Dine        0.20      1395.00          $279.00
                                (partial).

 05/30/2023   IAWN ME           Review insurance file and send analysis to B.           0.30      1395.00          $418.50
                                Michael and K. Dine.

 05/30/2023   IAWN ME           Telephone call with B. Michael re insurance.            0.20      1395.00          $279.00

 05/30/2023   BMM     ME        Call with K. Dine regarding mediation strategy.         0.40        875.00         $350.00

 05/31/2023   IAWN ME           Review emails to Judge Cave re continued                0.10      1395.00          $139.50
                                mediation.

 05/31/2023   JIS     ME        Review email from Judge Cave and respond to             0.10      1695.00          $169.50
                                same.

 05/31/2023   KBD     ME        Review correspondence among parties and Judge           0.10      1395.00          $139.50
                                Cave.

 05/31/2023   KBD     ME        Call with B. Michael regarding next steps.              0.50      1395.00          $697.50

                                                                                      272.10                    $351,363.50

  Mtgs/Conf w/ Case Prof.
 05/03/2023   KBD     MF        Review correspondence among Jones Day and PSZJ          0.10      1395.00          $139.50
                                regarding ongoing case issues.

 05/03/2023   BMM     MF        Call with Diocese regarding Dominican Village           0.10        875.00          $87.50
                                admin motion.

 05/11/2023   KBD     MF        Correspondence with Jefferies and Jones Day on          0.10      1395.00          $139.50
                                ongoing case issues.

 05/30/2023   KBD     MF        Call with Jones Day and PSZJ regarding ongoing          0.60      1395.00          $837.00
                                case matters.

 05/30/2023   BMM     MF        Call with Jones Day regarding ongoing case issues.      0.60        875.00         $525.00

 05/30/2023   BMM     MF        Follow-up call with J. Stang and K. Dine from Jones     0.40        875.00         $350.00
                                Day meeting.

                                                                                        1.90                      $2,078.50
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  Monthly Fee Statements
 05/01/2023   DHH     MFA       Review PSZJ March 2023 invoice and update            0.60        395.00       $237.00
                                monthly statement (.5); and prepare email to G.
                                Brown re coding of time entries (.1).

 05/02/2023   KLL     MFA       Review correspondence re Burns Bair monthly fee      0.20        545.00       $109.00
                                statement and filing of same.

 05/02/2023   GNB     MFA       Revise and finalize PSZJ March 2023 monthly fee      0.20        975.00       $195.00
                                statement.

 05/02/2023   GNB     MFA       Review and edit Burns Bair March 2023 monthly        0.10        975.00        $97.50
                                fee statement.

 05/02/2023   DHH     MFA       Update PSZJ March monthly fee statement.             0.60        395.00       $237.00

 05/04/2023   KLL     MFA       Review and prepare chart re expert invoices.         1.90        545.00      $1,035.50

 05/13/2023   GNB     MFA       Edit PSZJ April 2023 monthly fee statement.          1.30        975.00      $1,267.50

 05/15/2023   KLL     MFA       Update files with current Rock Creek invoice.        0.20        545.00       $109.00

 05/15/2023   GNB     MFA       Review and approve Rock Creek’s March 2023           0.10        975.00        $97.50
                                invoice for payment.

 05/17/2023   KLL     MFA       Prepare certificate of no objections to Committee    0.50        545.00       $272.50
                                professionals' March monthly fee statements.

 05/17/2023   GNB     MFA       Edit PSZJ’s April 2023 monthly fee statement.        0.50        975.00       $487.50

 05/22/2023   GNB     MFA       Edit PSZJ April 2023 monthly fee statement.          0.70        975.00       $682.50

 05/24/2023   IAWN MFA          Review Reed Smith bills.                             0.30      1395.00        $418.50

 05/25/2023   GNB     MFA       Review RockCreek’s April 2023 invoice; Email D.      0.10        975.00        $97.50
                                Hinojosa regarding payment of same.

 05/25/2023   GNB     MFA       Edit PSZJ April 2023 monthly fee statement.          1.70        975.00      $1,657.50

 05/26/2023   BMM     MFA       Review monthly fee statement for filing.             0.20        875.00       $175.00

 05/26/2023   GNB     MFA       Edit PSZJ April 2023 monthly fee statement.          1.30        975.00      $1,267.50

 05/26/2023   GNB     MFA       Revise Burns Bair April 2023 monthly fee             0.10        975.00        $97.50
                                statement; Email T. Burns and J. Bair regarding
                                same, and regarding filing and service.

 05/26/2023   DHH     MFA       Review PSZJ April invoice (.25); begin drafting      1.50        395.00       $592.50
                                PSZJ April monthly fee statement (1.25).

 05/29/2023   DHH     MFA       Edit PSZJ April monthly fee statement.               0.50        395.00       $197.50
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 05/30/2023   GNB     MFA       Email with Karen B. Dine and Brittany M. Michael        0.10         975.00         $97.50
                                regarding PSZJ and Jones Day April 2023 bills.

 05/30/2023   KBD     MFA       Prepare comments to monthly fee statement and           0.40       1395.00         $558.00
                                related correspondence.

 05/30/2023   BMM     MFA       Communications with G. Brown and K. Dine                0.20         875.00        $175.00
                                regarding monthly fee statement.

 05/31/2023   GNB     MFA       Revise and finalize PSZJ April 2023 monthly fee         0.30         975.00        $292.50
                                statement.

                                                                                        13.60                    $10,454.00

  Interview/Meetings
 05/23/2023   YPD     MTG       Analyze of email from B. Michael regarding May15        0.40         545.00        $218.00
                                (.1); Committee Minutes (.1); Compare revision
                                with original and update Minutes and revise agenda
                                as per B. Michael email (.2)..

                                                                                         0.40                      $218.00

  Open Court Hearing
 05/02/2023   KBD     OPH       Attend Court hearing regarding cell tower sale.         0.30       1395.00         $418.50

 05/16/2023   JIS     OPH       Attend hearing regarding discovery related to claims    1.20       1695.00        $2,034.00
                                objections.

 05/16/2023   KBD     OPH       Participate in Court hearing regarding claims.          1.20       1395.00        $1,674.00

 05/16/2023   BMM     OPH       Participate in hearing regarding claims objections &    1.20         875.00       $1,050.00
                                discovery.

                                                                                         3.90                     $5,176.50

  Plan & Disclosure Stmt. [B320]
 05/01/2023   AJK     PD        Telephone conference with K. McNally and T.             0.60       1675.00        $1,005.00
                                Flanagan re valuation issues.

 05/04/2023   IAWN PD           Review Ecclesia materials re surplus.                   0.80       1395.00        $1,116.00

 05/12/2023   AJK     PD        Call with PSZJ re plan issues and strategy.             0.80       1675.00        $1,340.00

 05/12/2023   KBD     PD        Call with Committee professionals regarding plan        0.80       1395.00        $1,116.00
                                strategy.

 05/12/2023   KBD     PD        Call with BRG and B. Michael regarding plan             0.40       1395.00         $558.00
                                issues.
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 05/12/2023   KBD     PD        Call with B. Michael and I. Nasatir (for part)          0.70      1395.00        $976.50
                                regarding plan issues.

 05/12/2023   BMM     PD        Call with PSZJ and BB team regarding plan issues.       0.80        875.00       $700.00

 05/12/2023   BMM     PD        Call with BRG and K. Dine regarding plan.               0.40        875.00       $350.00

 05/12/2023   BMM     PD        Call with K. Dine and I. Nasatir (in part) regarding    0.70        875.00       $612.50
                                liquidation analysis.

 05/12/2023   BMM     PD        Emails with experts regarding liquidation analysis.     0.50        875.00       $437.50

 05/15/2023   IAWN PD           Telephone call with B. Michael re Ecclesia with         0.10      1395.00        $139.50
                                respect to self-insured retention.

 05/15/2023   IAWN PD           Telephone call with B. Michael re Ecclessia LPT.        0.10      1395.00        $139.50

 05/15/2023   IAWN PD           Telephone call with broker re LPT.                      0.10      1395.00        $139.50

 05/15/2023   IAWN PD           Review Arrowood mandamus papers.                        0.80      1395.00       $1,116.00

 05/15/2023   IAWN PD           Review J. Bair email and attachments re stipulation     0.30      1395.00        $418.50
                                and discovery.

 05/15/2023   IAWN PD           Email team re Arrowood mandamus.                        0.10      1395.00        $139.50

 05/15/2023   KBD     PD        Calls with B. Michael regarding plan and disclosure     1.00      1395.00       $1,395.00
                                statement terms.

 05/15/2023   KBD     PD        Revise to Disclosure Statement.                         2.80      1395.00       $3,906.00

 05/15/2023   BMM     PD        Revise second amended plan.                             0.90        875.00       $787.50

 05/15/2023   BMM     PD        Revise second amended plan.                             0.90        875.00       $787.50

 05/15/2023   BMM     PD        Revise plan draft.                                      1.60        875.00      $1,400.00

 05/15/2023   BMM     PD        Revise second amended plan (with K. Dine in part).      1.20        875.00      $1,050.00

 05/16/2023   AJK     PD        Review updated plan.                                    1.10      1675.00       $1,842.50

 05/16/2023   IAWN PD           Review and comment on Committee's second                2.20      1395.00       $3,069.00
                                amended plan.

 05/16/2023   JIS     PD        Review second amended plan (partial).                   0.70      1695.00       $1,186.50

 05/16/2023   KBD     PD        Analyze revisions to plan.                              0.90      1395.00       $1,255.50

 05/16/2023   KBD     PD        Revise to disclosure statement.                         1.80      1395.00       $2,511.00

 05/16/2023   BMM     PD        Revise motion for disclosure statement approval and     0.70        875.00       $612.50
                                solicitation materials.

 05/16/2023   BMM     PD        Revise motion for disclosure statement approval and     0.40        875.00       $350.00
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                                solicitation materials.
 05/16/2023   BMM     PD        Revise second amended plan, trust agreement, and      2.90        875.00      $2,537.50
                                trust allocation protocols.

 05/17/2023   AJK     PD        Review plan and disclosure statement in connection    2.70      1675.00       $4,522.50
                                with litigation issue analysis.

 05/17/2023   IAWN PD           Review Diocese of Brooklyn complaint v.               0.80      1395.00       $1,116.00
                                Arrowood.

 05/17/2023   IAWN PD           Exchange emails with Burns Bair LLP re notary.        0.10      1395.00        $139.50

 05/17/2023   JIS     PD        Review second amended plan and revise.                3.80      1695.00       $6,441.00

 05/17/2023   KBD     PD        Analyze revised plan and comments to same.            1.60      1395.00       $2,232.00

 05/18/2023   AJK     PD        Meet (Zoom) with BRG and PSZJ (partial                1.10      1675.00       $1,842.50
                                attendance) re plan and disclosure issues.

 05/18/2023   JIS     PD        Call with BRG regarding liquidation analysis.         1.20      1695.00       $2,034.00

 05/18/2023   KBD     PD        Call (for part) with PSZJ and BRG regarding plan      1.00      1395.00       $1,395.00
                                issues.

 05/18/2023   BMM     PD        Call with PSZJ and BRG team regarding liquidation     1.20        875.00      $1,050.00
                                analysis.

 05/19/2023   IAWN PD           Exchange emails with broker re Ecclesia.              0.10      1395.00        $139.50

 05/19/2023   IAWN PD           Review and revise engagement letter for broker.       0.80      1395.00       $1,116.00

 05/20/2023   IAWN PD           Review Committee's second amended plan and            2.00      1395.00       $2,790.00
                                respond to B. Michael re same.

 05/22/2023   JIS     PD        Call with potential expert for plan purposes.         0.50      1695.00        $847.50

 05/23/2023   IAWN PD           Exchange emails with broker re Ecclesia.              0.20      1395.00        $279.00

 05/23/2023   IAWN PD           Review Arrowood notice letter.                        0.20      1395.00        $279.00

 05/23/2023   IAWN PD           Exchange emails with team re Arrowood notice          0.20      1395.00        $279.00
                                letter.

 05/24/2023   IAWN PD           Email team re subjects for review and discussion.     0.10      1395.00        $139.50

 05/24/2023   IAWN PD           Telephone call with broker re valuation.              0.10      1395.00        $139.50

 05/24/2023   IAWN PD           Exchange emails and telephone calls with B.           0.20      1395.00        $279.00
                                Michael re broker.

 05/24/2023   KHB     PD        Emails from J. Stang re Committee plan.               0.20      1525.00        $305.00

 05/24/2023   KBD     PD        Call with B. Michael regarding next steps memo.       0.20      1395.00        $279.00
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 05/24/2023   KBD     PD        Call with BRG and B. Michael regarding financial        0.80      1395.00       $1,116.00
                                analysis.

 05/24/2023   KBD     PD        Revise disclosure statement.                            2.10      1395.00       $2,929.50

 05/24/2023   BMM     PD        (Partial) Call with BRG and K. Dine regarding           0.90        875.00       $787.50
                                mediation update and liquidation analysis.

 05/24/2023   BMM     PD        Revise plan draft.                                      1.20        875.00      $1,050.00

 05/24/2023   BMM     PD        Revise plan draft.                                      0.70        875.00       $612.50

 05/25/2023   AJK     PD        Analyze expert issue.                                   0.20      1675.00        $335.00

 05/25/2023   GNB     PD        Telephone conference with B. Michael regarding          0.90        975.00       $877.50
                                litigation evidentiary issues.

 05/25/2023   KBD     PD        Communications among team regarding potential           0.20      1395.00        $279.00
                                expert for plan litigation.

 05/25/2023   KBD     PD        Call with J. Stang regarding Spectrum assets.           0.10      1395.00        $139.50

 05/25/2023   KBD     PD        Revise disclosure statement draft.                      2.30      1395.00       $3,208.50

 05/25/2023   BMM     PD        Review and draft communications with team and           1.50        875.00      $1,312.50
                                other firm attorneys regarding liquidation analysis,
                                including expert options.

 05/25/2023   BMM     PD        Call with G. Brown regarding liquidation analysis       0.90        875.00       $787.50
                                expert evidence.

 05/26/2023   AJK     PD        Analyze plan issues.                                    0.70      1675.00       $1,172.50

 05/26/2023   IAWN PD           Telephone call with broker's counsel re valuation of    0.50      1395.00        $697.50
                                insurance captive.

 05/26/2023   KBD     PD        Revise disclosure statement.                            1.70      1395.00       $2,371.50

 05/26/2023   KBD     PD        Analyze revisions to plan.                              0.60      1395.00        $837.00

 05/26/2023   BMM     PD        Revise draft trust allocation protocols.                0.50        875.00       $437.50

 05/26/2023   BMM     PD        Revise plan draft.                                      2.70        875.00      $2,362.50

 05/29/2023   KBD     PD        Prepare disclosure statement.                           2.30      1395.00       $3,208.50

 05/29/2023   KBD     PD        Review revised plan documents.                          0.70      1395.00        $976.50

 05/29/2023   BMM     PD        Revise plan draft.                                      1.00        875.00       $875.00

 05/29/2023   BMM     PD        Revise draft trust allocations protocols and Trust      1.00        875.00       $875.00
                                Agreement.

 05/30/2023   IAWN PD           Exchange emails with team re Arrowood and               0.30      1395.00        $418.50
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                                                                                       Hours           Rate      Amount
                                guaranty fund timing.
 05/30/2023   IAWN PD           Review BRG email re Ecclesia.                           0.10      1395.00        $139.50

 05/30/2023   IAWN PD           Review broker analysis.                                 0.50      1395.00        $697.50

 05/30/2023   IAWN PD           Forward broker analysis to B. Michael.                  0.10      1395.00        $139.50

 05/30/2023   JIS     PD        Call with B. Michael and K. Dine regarding plan         0.30      1695.00        $508.50
                                edits.

 05/30/2023   JIS     PD        Discuss insurance plan terms with team.                 0.50      1695.00        $847.50

 05/30/2023   JIS     PD        Call with Debtor regarding dismissal and Plan           0.50      1695.00        $847.50
                                issues.

 05/30/2023   JIS     PD        Review case law re releases in plan.                    0.40      1695.00        $678.00

 05/30/2023   KHB     PD        Analyze case law re coercive third-party releases.      1.50      1525.00       $2,287.50

 05/30/2023   KBD     PD        Call with B. Michael regarding issues relating to       0.20      1395.00        $279.00
                                plan.

 05/30/2023   KBD     PD        Prepare disclosure statement.                           0.80      1395.00       $1,116.00

 05/30/2023   KBD     PD        Analyze legal issues relating to plan.                  1.90      1395.00       $2,650.50

 05/30/2023   KBD     PD        Call with J. Stang and B. Michael regarding next        0.30      1395.00        $418.50
                                steps.

 05/30/2023   BMM     PD        Read case law on third-party releases.                  0.30        875.00       $262.50

 05/30/2023   BMM     PD        Call with I. Nasatir regarding liquidation analysis.    0.30        875.00       $262.50

 05/30/2023   BMM     PD        Call with K. Dine regarding plan next steps.            0.20        875.00       $175.00

 05/31/2023   IAWN PD           Telephone call with team re insurance plan terms.       0.50      1395.00        $697.50

 05/31/2023   IAWN PD           Exchange emails with broker re telephone call.          0.10      1395.00        $139.50

 05/31/2023   KBD     PD        Analyze legal issues relating to plan.                  1.30      1395.00       $1,813.50

 05/31/2023   KBD     PD        Analyze information relating to disclosure              0.80      1395.00       $1,116.00
                                statement.

 05/31/2023   KBD     PD        Communications relating to potential expert re          0.10      1395.00        $139.50
                                certain plan issues.

 05/31/2023   KBD     PD        Call with J. Stang and B. Michael regarding plan        0.30      1395.00        $418.50
                                edits.

 05/31/2023   KBD     PD        Discuss insurance plan terms with team.                 0.50      1395.00        $697.50

 05/31/2023   BMM     PD        Revise plan draft.                                      1.30        875.00      $1,137.50
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                                                                                        Hours            Rate        Amount

 05/31/2023   BMM     PD        Meeting with BRG and I. Nasatir regarding                0.50         875.00         $437.50
                                liquidation analysis.

 05/31/2023   BMM     PD        Revise plan draft.                                       1.10         875.00         $962.50

 05/31/2023   BMM     PD        Discuss plan terms with BB and PSZJ team.                0.50         875.00         $437.50

 05/31/2023   BMM     PD        Call with J. Stang and K. Dine regarding plan edits.     0.30         875.00         $262.50

 05/31/2023   BMM     PD        Communication with potential ch. 7 expert.               0.30         875.00         $262.50

 05/31/2023   BMM     PD        Revise draft disclosure statement.                       0.60         875.00         $525.00

 05/31/2023   JE      PD        Review opinions (majority and concurring) re             1.60       1450.00         $2,320.00
                                third-party releases and annotate.

                                                                                         86.90                    $110,982.50

  Preliminary Injunction
 05/17/2023   KLL     PINJ      Review hearing transcript and circulate to B.            0.30         545.00         $163.50
                                Michael re evidentiary hearing.

 05/22/2023   GSG     PINJ      Review stipulations and email B. Michael re              0.20       1095.00          $219.00
                                injunction pending hearing.

                                                                                          0.50                       $382.50

  Seminary Transfers
 05/10/2023   AJK     SEM       Review PSZJ e-mail re seminary issue.                    0.30       1675.00          $502.50

 05/10/2023   KHB     SEM       Review letter from W. Heuer re settlement offer (.2);    0.50       1525.00          $762.50
                                emails with J. Stang re same (.2); emails with G.
                                Greenwood re same (.1).

 05/26/2023   KBD     SEM       Communications relating to Seminary status.              0.20       1395.00          $279.00

 05/31/2023   KHB     SEM       Confer with W. Heuer re timing of filing complaint       0.20       1525.00          $305.00
                                and stipulation re same.

                                                                                          1.20                      $1,849.00

  Travel
 05/09/2023   IAWN TR           Travel from New Orleans to New York for                  5.00         697.50        $3,487.50
                                mediation. (Billed at 1/2 rate)

 05/09/2023   JIS     TR        Travel from New Orleans to New York for                  5.00         847.50        $4,237.50
                                mediation. (Billed at 1/2 rate)

 05/09/2023   BMM     TR        Travel to NYC for mediation. (Billed at 1/2 rate)        6.30         437.50        $2,756.25
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                                                                                       Hours            Rate       Amount

 05/10/2023   BMM     TR        Travel home from NYC from mediation. (Billed at         6.20         437.50       $2,712.50
                                1/2 rate)

 05/11/2023   JIS     TR        Return from NY to LA from meeting with                  7.50         847.50       $6,356.25
                                mediators. (Billed at 1/2 rate)

 05/12/2023   IAWN TR           Travel from New York to Los Angeles after              12.00         697.50       $8,370.00
                                mediation. (Billed at 1/2 rate)

 05/17/2023   IAWN TR           Travel from California to New York(Billed at 1/2       12.00         697.50       $8,370.00
                                rate)

 05/17/2023   JIS     TR        Travel from LA to NY for mediation.                     8.00         847.50       $6,780.00

 05/17/2023   BMM     TR        Travel to NYC for mediation. (Billed at 1/2 rate)       6.50         437.50       $2,843.75

 05/19/2023   JIS     TR        Travel from NYC to JFK. (Billed at 1/2 rate)            1.00         847.50         $847.50

 05/20/2023   IAWN TR           Travel from New York to California (Billed at 1/2      12.00         697.50       $8,370.00
                                rate)

 05/20/2023   JIS     TR        Travel from NYC to Los Angeles. (Billed at 1/2 rate)    7.50         847.50       $6,356.25

 05/20/2023   BMM     TR        Travel home from NYC from mediation. (Billed at         5.20         437.50       $2,275.00
                                1/2 rate)

                                                                                        94.20                    $63,762.50

  TOTAL SERVICES FOR THIS MATTER:                                                                              $832,149.50
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 Expenses
 01/09/2023   OS         CBRE, Inc. - Valuation and Advisory Services, Inv.           8,000.00
                         0070376-422, BMM
 04/05/2023   CC         Conference Call [E105] AT&T Conference Call, TCF                 5.19
 04/05/2023   CC         Conference Call [E105] AT&T Conference Call, GSG                 1.76
 04/06/2023   CC         Conference Call [E105] AT&T Conference Call, AJK                 7.47
 04/09/2023   CC         Conference Call [E105] AT&T Conference Call, AJK                 6.11
 04/18/2023   AT         Auto Travel Expense [E109]KLS Worldwide Chauffeured           220.11
                         Services, Inv.#3007101, From EWR to Lotte NY Palace,
                         IAWN
 04/24/2023   CC         Conference Call [E105] AT&T Conference Call, AJK                 4.91
 04/25/2023   AF         Air Fare [E110] Delta Airlines, Tkt.#00621030213672, From    3,959.80
                         LAS/
                         /LAS, J. Daly
 04/28/2023   TE         Travel Expense [E110] Travel Agency Service Fee, JIS           50.00
 04/30/2023   OS         Rock Creek Advisors, Inv. 1856, JIS                         28,665.00
 05/02/2023   LN         18491.00002 Lexis Charges for 05-02-23                           4.86
 05/02/2023   LN         18491.00002 Lexis Charges for 05-02-23                         11.37
 05/02/2023   RE2        COPY ( 1 @0.10 PER PG)                                           0.10
 05/02/2023   RE2        COPY ( 116 @0.10 PER PG)                                       11.60
 05/02/2023   RE2        COPY ( 76 @0.10 PER PG)                                          7.60
 05/02/2023   RE2        COPY ( 1 @0.10 PER PG)                                           0.10
 05/02/2023   RE2        COPY ( 18 @0.10 PER PG)                                          1.80
 05/02/2023   RE2        COPY ( 3 @0.10 PER PG)                                           0.30
 05/02/2023   RE2        COPY ( 3 @0.10 PER PG)                                           0.30
 05/02/2023   TR         Transcript [E116] Veritext Legal Solutions, Inv.#6550022,      30.00
                         KLL
 05/04/2023   RE2        COPY ( 77 @0.10 PER PG)                                          7.70
 05/04/2023   RE2        COPY ( 8 @0.10 PER PG)                                           0.80
 05/04/2023   RE2        COPY ( 24 @0.10 PER PG)                                          2.40
 05/04/2023   RE2        COPY ( 12 @0.10 PER PG)                                          1.20
 05/04/2023   RE2        COPY ( 16 @0.10 PER PG)                                          1.60
 05/04/2023   RE2        COPY ( 8 @0.10 PER PG)                                           0.80
 05/04/2023   RE2        COPY ( 2 @0.10 PER PG)                                           0.20
 05/04/2023   RE2        COPY ( 8 @0.10 PER PG)                                           0.80
 05/04/2023   RE2        COPY ( 8 @0.10 PER PG)                                           0.80
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 05/04/2023   RE2        COPY ( 20 @0.10 PER PG)                                    2.00
 05/04/2023   RE2        COPY ( 12 @0.10 PER PG)                                    1.20
 05/04/2023   RE2        COPY ( 91 @0.10 PER PG)                                    9.10
 05/04/2023   RE2        COPY ( 8 @0.10 PER PG)                                     0.80
 05/04/2023   RE2        COPY ( 8 @0.10 PER PG)                                     0.80
 05/04/2023   RE2        COPY ( 8 @0.10 PER PG)                                     0.80
 05/04/2023   RE2        COPY ( 8 @0.10 PER PG)                                     0.80
 05/04/2023   RE2        COPY ( 8 @0.10 PER PG)                                     0.80
 05/04/2023   RE2        COPY ( 12 @0.10 PER PG)                                    1.20
 05/04/2023   RE2        COPY ( 8 @0.10 PER PG)                                     0.80
 05/04/2023   RE2        COPY ( 20 @0.10 PER PG)                                    2.00
 05/04/2023   RE2        COPY ( 32 @0.10 PER PG)                                    3.20
 05/04/2023   RE2        COPY ( 16 @0.10 PER PG)                                    1.60
 05/04/2023   RE2        COPY ( 12 @0.10 PER PG)                                    1.20
 05/04/2023   RE2        COPY ( 12 @0.10 PER PG)                                    1.20
 05/04/2023   RE2        COPY ( 12 @0.10 PER PG)                                    1.20
 05/04/2023   RE2        COPY ( 12 @0.10 PER PG)                                    1.20
 05/04/2023   RE2        COPY ( 16 @0.10 PER PG)                                    1.60
 05/04/2023   RE2        COPY ( 11 @0.10 PER PG)                                    1.10
 05/04/2023   RE2        COPY ( 12 @0.10 PER PG)                                    1.20
 05/04/2023   RE2        COPY ( 6 @0.10 PER PG)                                     0.60
 05/04/2023   RE2        COPY ( 8 @0.10 PER PG)                                     0.80
 05/04/2023   RE2        COPY ( 8 @0.10 PER PG)                                     0.80
 05/04/2023   RE2        COPY ( 8 @0.10 PER PG)                                     0.80
 05/04/2023   RE2        COPY ( 8 @0.10 PER PG)                                     0.80
 05/04/2023   RE2        COPY ( 4 @0.10 PER PG)                                     0.40
 05/04/2023   RE2        COPY ( 8 @0.10 PER PG)                                     0.80
 05/04/2023   RE2        COPY ( 20 @0.10 PER PG)                                    2.00
 05/04/2023   RE2        COPY ( 16 @0.10 PER PG)                                    1.60
 05/04/2023   RE2        COPY ( 24 @0.10 PER PG)                                    2.40
 05/04/2023   RE2        COPY ( 24 @0.10 PER PG)                                    2.40
 05/04/2023   RE2        COPY ( 24 @0.10 PER PG)                                    2.40
 05/04/2023   RE2        COPY ( 12 @0.10 PER PG)                                    1.20
 05/04/2023   RE2        COPY ( 12 @0.10 PER PG)                                    1.20
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 05/04/2023   RE2        COPY ( 66 @0.10 PER PG)                                        6.60
 05/04/2023   RE2        COPY ( 13 @0.10 PER PG)                                        1.30
 05/04/2023   RE2        COPY ( 13 @0.10 PER PG)                                        1.30
 05/05/2023   DC         Delivery/ Courier Service [E107] Mobile Parcel Carriers       80.00
                         Inc., Inv. 241088, delivery to Bowling Green, S. Winns
 05/05/2023   RE2        COPY ( 7 @0.10 PER PG)                                         0.70
 05/05/2023   RE2        COPY ( 16 @0.10 PER PG)                                        1.60
 05/05/2023   RE2        COPY ( 20 @0.10 PER PG)                                        2.00
 05/05/2023   RE2        COPY ( 21 @0.10 PER PG)                                        2.10
 05/05/2023   RE2        COPY ( 1 @0.10 PER PG)                                         0.10
 05/05/2023   RE2        COPY ( 16 @0.10 PER PG)                                        1.60
 05/05/2023   RE2        COPY ( 16 @0.10 PER PG)                                        1.60
 05/05/2023   RE2        COPY ( 12 @0.10 PER PG)                                        1.20
 05/05/2023   RE2        COPY ( 24 @0.10 PER PG)                                        2.40
 05/05/2023   RE2        COPY ( 16 @0.10 PER PG)                                        1.60
 05/08/2023   LN         18491.00002 Lexis Charges for 05-08-23                         2.40
 05/08/2023   LN         18491.00002 Lexis Charges for 05-08-23                        11.37
 05/09/2023   AT         Auto Travel Expense [E109] Lyft Transportation Service,       28.69
                         BMM
 05/09/2023   AT         Auto Travel Expense [E109] Taxi Service, BMM                  29.38
 05/09/2023   AT         Auto Travel Expense [E109] Lyft Transportation Service,       68.59
                         BMM
 05/09/2023   BM         Business Meal [E111] Brueggers, lunch at airport, BMM          6.78
 05/09/2023   HT         Hotel Expense [E110] Lotte New York Palace, 2 nights,        970.92
                         BMM
 05/10/2023   AP         MSP Parking (2 days), BMM                                     60.00
 05/10/2023   AT         Auto Travel Expense [E109] NYC Taxi, KBD                      21.36
 05/10/2023   AT         Auto Travel Expense [E109] Lyft Transportation Service,       78.49
                         BMM
 05/10/2023   BM         Business Meal [E111] Blake & Todd, meal for mediation        656.47
                         parties, L. Delmonte
 05/10/2023   BM         Business Meal [E111] Omar's Mediterranean, meal for          719.53
                         mediation parties, L. Delmonte
 05/10/2023   BM         Business Meal [E111] Ess-a-Bagel, breakfast, BMM              18.39
 05/10/2023   BM         Business Meal [E111] Dinner, BMM                               4.23
 05/10/2023   BM         Business Meal [E111] Bubby's, working meal, BMM               33.44
 05/10/2023   BM         Business Meal [E111] Snacks/Water bottle at Bubby's, BMM      24.76
 05/10/2023   PO         LA Postage                                                    17.05
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 05/10/2023   RE2        COPY ( 77 @0.10 PER PG)                                           7.70
 05/10/2023   RE2        COPY ( 77 @0.10 PER PG)                                           7.70
 05/10/2023   RE2        COPY ( 462 @0.10 PER PG)                                        46.20
 05/10/2023   RE2        COPY ( 32 @0.10 PER PG)                                           3.20
 05/10/2023   RE2        COPY ( 385 @0.10 PER PG)                                        38.50
 05/10/2023   RE2        COPY ( 462 @0.10 PER PG)                                        46.20
 05/10/2023   RE2        COPY ( 32 @0.10 PER PG)                                           3.20
 05/10/2023   RE2        COPY ( 1 @0.10 PER PG)                                            0.10
 05/10/2023   RE2        COPY ( 1 @0.10 PER PG)                                            0.10
 05/10/2023   RE2        COPY ( 2 @0.10 PER PG)                                            0.20
 05/10/2023   RE2        COPY ( 1 @0.10 PER PG)                                            0.10
 05/10/2023   RE2        COPY ( 5 @0.10 PER PG)                                            0.50
 05/10/2023   RE2        COPY ( 24 @0.10 PER PG)                                           2.40
 05/10/2023   RE2        COPY ( 1 @0.10 PER PG)                                            0.10
 05/10/2023   RE2        COPY ( 1 @0.10 PER PG)                                            0.10
 05/10/2023   RE2        COPY ( 1 @0.10 PER PG)                                            0.10
 05/10/2023   RE2        COPY ( 1 @0.10 PER PG)                                            0.10
 05/10/2023   RE2        COPY ( 1 @0.10 PER PG)                                            0.10
 05/10/2023   RE2        COPY ( 3 @0.10 PER PG)                                            0.30
 05/10/2023   RE2        COPY ( 1 @0.10 PER PG)                                            0.10
 05/10/2023   RE2        COPY ( 42 @0.10 PER PG)                                           4.20
 05/12/2023   LN         18491.00002 Lexis Charges for 05-12-23                          19.20
 05/12/2023   LN         18491.00002 Lexis Charges for 05-12-23                          11.37
 05/15/2023   FE         18491.00002 FedEx Charges for 05-15-23                          32.31
 05/15/2023   LN         18491.00002 Lexis Charges for 05-15-23                            2.40
 05/15/2023   LN         18491.00002 Lexis Charges for 05-15-23                          11.37
 05/15/2023   OS         Rock Creek Advisors, Inv.#1836, Services Rendered from       34,417.50
                         March 1, 2023 Through March 31, 2023, JIS
 05/15/2023   PO         LA Postage                                                        3.18
 05/16/2023   LN         18491.00002 Lexis Charges for 05-16-23                            0.87
 05/16/2023   LN         18491.00002 Lexis Charges for 05-16-23                          12.39
 05/16/2023   TR         Transcript [E116] Veritext, Inv. 6580222, K. LaBrada            90.00
 05/17/2023   AT         Auto Travel Expense [E109]Curb Mobility LLC, J. Daly            98.76
 05/17/2023   AT         Auto Travel Expense [E109] Uber Transportation Service, J.      60.84
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                         Daly
 05/17/2023   AT         Auto Travel Expense [E109] Lyft Transportation Service,         67.05
                         BMM
 05/17/2023   AT         Auto Travel Expense [E109] Lyft Transportation Service,         29.08
                         BMM
 05/17/2023   AT         Auto Travel Expense [E109] Lyft Transportation Service,         23.89
                         BMM
 05/17/2023   BM         Business Meal [E111] Pick a Bagel, breakfast, BMM               11.74
 05/17/2023   BM         Business Meal [E111]Brueggers, lunch, BMM                        6.78
 05/17/2023   HT         Hotel Expense [E110]Marriot NY, 3 nights, J. Daly            2,674.60
 05/17/2023   HT         Hotel Expense [E110] Conrad New York, 3 nights, BMM          3,687.70
 05/17/2023   RE2        COPY ( 100 @0.10 PER PG)                                        10.00
 05/17/2023   RE2        COPY ( 810 @0.10 PER PG)                                        81.00
 05/17/2023   RE2        COPY ( 780 @0.10 PER PG)                                        78.00
 05/17/2023   TE         Travel Expense [E110] American Airlines, In-Flight WiFi,        29.00
                         JIS
 05/18/2023   AF         Air Fare [E110] Delta Airlines, Tkt.#0062109784851, From       357.80
                         MSP/PHL- PHL/MSP, BMM
 05/18/2023   AT         Auto Travel Expense [E109]Uber Transportation Service,          35.22
                         KBD
 05/18/2023   AT         Auto Travel Expense [E109] Elite Transportation Services,      187.12
                         Inv. 1882363, J. Refior
 05/18/2023   AT         Auto Travel Expense [E109] Elite Transportation Services,      177.45
                         Inv. 1882363, J. Refior
 05/18/2023   BM         Business Meal [E111] Tribeca Grill, dinner with committee,     300.46
                         BMM
 05/18/2023   HT         Hotel Expense [E110] New York Marriott Downtown, 2           1,503.69
                         nights, Committee member
 05/18/2023   LN         18491.00002 Lexis Charges for 05-18-23                           2.40
 05/18/2023   LN         18491.00002 Lexis Charges for 05-18-23                          11.37
 05/19/2023   AT         Auto Travel Expense [E109]Uber Transportation Service, J.       31.13
                         Daly
 05/19/2023   AT         Auto Travel Expense [E109]Uber Transportation Service,          35.79
                         KBD
 05/19/2023   BM         Business Meal [E111] Uber - Rosella's Pizzeria, dinner,        113.38
                         BMM
 05/19/2023   BM         Business Meal [E111]Uber - Dona Bella Pizza, dinner, BMM       108.70
 05/19/2023   HT         Hotel Expense [E110] New York Marriott Downtown,               717.24
                         05/18/23 - 05/19/23, 1 night, J. Refior
 05/19/2023   LN         18491.00002 Lexis Charges for 05-19-23                           1.60
 05/20/2023   AP         MSP Airport, BMM                                                96.00
 05/20/2023   AT         Auto Travel Expense [E109 Curb Mobility LLC, J. Daly            88.80
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 05/20/2023   AT         Auto Travel Expense [E109]Uber Transportation Service, J.      64.72
                         Daly
 05/20/2023   AT         Auto Travel Expense [E109] Lyft Transportation Service,       133.56
                         BMM
 05/20/2023   BM         Business Meal [E111] H&H Bagels, breakfast, BMM                15.45
 05/20/2023   TE         Travel Expense [E110] American Airlines, In-Flight WiFi,       29.00
                         JIS
 05/21/2023   BM         Business Meal [E111] GrubHub, Joe's Shanghai, Business         75.25
                         Meal, KBD
 05/22/2023   FE         18491.00002 FedEx Charges for 05-22-23                         18.84
 05/23/2023   LN         18491.00002 Lexis Charges for 05-23-23                         11.37
 05/24/2023   LN         18491.00002 Lexis Charges for 05-24-23                          4.00
 05/24/2023   LN         18491.00002 Lexis Charges for 05-24-23                          1.60
 05/25/2023   FE         18491.00002 FedEx Charges for 05-25-23                         37.11
 05/25/2023   LN         18491.00002 Lexis Charges for 05-25-23                         12.39
 05/26/2023   FF         Filing Fee [E112] USBC, Southern District of New York,        350.00
                         KBD
 05/26/2023   LN         18491.00002 Lexis Charges for 05-26-23                          5.60
 05/26/2023   LN         18491.00002 Lexis Charges for 05-26-23                         11.37
 05/26/2023   LN         18491.00002 Lexis Charges for 05-26-23                         85.96
 05/28/2023   LN         18491.00002 Lexis Charges for 05-28-23                         12.39
 05/29/2023   BB         18491.00002 Bloomberg Charges through 05-29-23                 12.50
 05/29/2023   LN         18491.00002 Lexis Charges for 05-29-23                          0.87
 05/29/2023   LN         18491.00002 Lexis Charges for 05-29-23                         12.39
 05/30/2023   LN         18491.00002 Lexis Charges for 05-30-23                          1.60
 05/30/2023   LN         18491.00002 Lexis Charges for 05-30-23                         11.37
 05/30/2023   RE2        COPY ( 86 @0.10 PER PG)                                         8.60
 05/31/2023   LN         18491.00002 Lexis Charges for 05-31-23                         12.00
 05/31/2023   LN         18491.00002 Lexis Charges for 05-31-23                         11.37
 05/31/2023   OS         Everlaw, Inc. Inv. 83128                                    6,336.00
 05/31/2023   PO         Postage [E108] NY Postage                                       2.22
 05/31/2023   PO         LA Postage                                                     11.70
 05/31/2023   RE         ( 384 @0.10 PER PG)                                            38.40
 05/31/2023   RE         ( 396 @0.10 PER PG)                                            39.60
 05/31/2023   RE2        COPY( 21 @0.10 PER PG)                                          2.10
 05/31/2023   RE2        COPY ( 1 @0.10 PER PG)                                          0.10
 05/31/2023   RE2        COPY ( 1 @0.10 PER PG)                                          0.10
     20-12345-mg        Doc 2222        Filed 06/30/23 Entered 06/30/23 11:23:04    Main Document
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Pachulski Stang Ziehl & Jones LLP                                                  Page:    57
Diocese of Rockville Ctr. OCC                                                      Invoice 132645
18491 - 00002                                                                      May 31, 2023


 05/31/2023   RE2        COPY ( 2 @0.10 PER PG)                                        0.20
 05/31/2023   RE2        COPY ( 3 @0.10 PER PG)                                        0.30
 05/31/2023   PAC        Pacer - Court Research                                      143.60

   Total Expenses for this Matter                                            $96,814.64
     20-12345-mg        Doc 2222         Filed 06/30/23 Entered 06/30/23 11:23:04          Main Document
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Diocese of Rockville Ctr. OCC                                                             Invoice 132645
18491 - 00002                                                                             May 31, 2023


                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        05/31/2023

Total Fees                                                                                           $832,149.50

Total Expenses                                                                                             96,814.64

Total Due on Current Invoice                                                                         $928,964.14

  Outstanding Balance from prior invoices as of        05/31/2023          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed             Balance Due
 131278                   10/31/2022               $535,306.50         $335,664.40                    $10,706.13

 131417                   11/30/2022               $611,937.50         $115,944.55                    $12,238.70

 131565                   12/31/2022               $585,075.50           $8,798.32                    $11,701.50

 131783                   01/31/2023             $1,318,410.00         $178,736.15                    $49,725.66

 132042                   03/20/2023             $1,140,389.50          $37,241.71                 $1,177,631.21

 132252                   03/31/2023             $1,122,085.00         $187,833.87                   $614,123.27

 132421                   04/30/2023             $1,554,775.75          $73,650.63                   $416,427.95

             Total Amount Due on Current and Prior Invoices:                                        $3,221,518.56
